Case 2:24-cv-09844-ES-JBC           Document 27    Filed 03/24/25     Page 1 of 75 PageID: 158




 Jeffrey I. Wasserman, Esq.
 WASSERMAN LITTLE LLC
 1200 Route 22 East, Suite 2000, #2238
 Bridgewater, New Jersey 08807
 jwasserman@wassermanlittle.com
 (973) 486-4801

        &

 Thomas K. Richards, Esq.
 SINGH, SINGH & TRAUBEN, LLP
 400 South Beverly Drive, Suite 240
 Beverly Hills, California 90212
 trichards@sst.law
 (310) 856-9705
 (admitted pro hac vice)

                          IN UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

  GEGARD MOUSASI                                   Civil Action No.: 2:24-cv-09844-EP-JBC

                       Plaintiff,                  FIRST AMENDED COMPLAINT

  v.

  BELLATOR SPORT WORLDWIDE, LLC,
  NEW BELLATOR, LLC (a Subsidiary of
  Professional Fighters League), PETER
  MURRAY, DONN DAVIS, RAY SEFO,
  MIKE KOGAN, JIM BRAMSON, GEORGE
  PINEDA and DOES 1 through 100,

                       Defendants.



                                         COMPLAINT

        Plaintiff, Gegard Mousasi (“Gegard”), by his attorneys, Wasserman Little LLC and Singh,

 Singh & Trauben, LLP, as and for his Complaint against Defendants Bellator Sport Worldwide,

 LLC (“Bellator”), New Bellator, LLC (a subsidiary of Professional Fighters League) (“PFL”)

 (Bellator and PFL are collectively referred to as the “PFL/Bellator”), Peter Murray, Donn Davis,



                                          Page 1 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25   Page 2 of 75 PageID: 159




 Ray Sefo, Mike Kogan, Jim Bramson, and George Pineda (collectively, the “Individual

 Defendants”), sets forth the following allegations.

                               I.     NATURE OF THE ACTION

        1.      Gegard is a well-known and successful professional MMA (defined in Section V.

 below) fighter. PFL/Bellator materially breached its contract and covenant of good faith and fair

 dealing with Gegard by failing to promote Gegard in Bouts (defined in Section V. below) and have

 been unjustly enriched.

        2.      PFL/Bellator further engaged in an anti-competitive scheme to maintain and

 enhance its monopsony power in the market for MMA fighter services in violation of the Sherman

 Act, 15 U.S.C. § 2.

        3.      All Defendants have also misclassified Gegard as an independent contractor when

 Gegard was in fact an employee and are liable under various misclassification-related labor and

 employment claims.

        4.      Gegard accordingly brings claims for breach of contract, breach of the implied

 covenant of good faith and fair dealing, unjust enrichment, a claim for relief under Section 2 of

 the Sherman Act, 15 U.S.C. § 2 (the “Sherman Act Claim”) and misclassification-related labor

 and employment claims (the “Labor and Employment Claims”).

                                      II.     THE PARTIES

        5.      Plaintiff Gegard Mousasi is an individual residing in The Netherlands.

        6.      Defendant Bellator Sport Worldwide, LLC is a Delaware limited liability company

 with its principal place of business in Los Angeles, California.

        7.      Defendant New Bellator, LLC (a subsidiary of Professional Fighters League), is a

 Delaware limited liability company with its principal place of business in New York, New York.




                                             Page 2 of 75
Case 2:24-cv-09844-ES-JBC             Document 27      Filed 03/24/25      Page 3 of 75 PageID: 160




         8.      Defendant Peter Murray is the CEO of PFL and, upon information and belief,

 resides in the State of New York.

         9.      Defendant Donn Davis is the founder, chairman and co-owner of PFL and, upon

 information and belief, resides in Great Falls, Virginia.

         10.     Defendant Ray Sefo is President of MMA promotion for PFL and, upon

 information and belief, resides in Las Vegas, Nevada.

         11.     Defendant Mike Kogan is an executive of PFL and, upon information and belief,

 resides in Miami, Florida.

         12.     Defendant Jim Bramson is an Executive Vice President and General Counsel of

 PFL and, upon information and belief, resides in Washington D.C.

         13.     Defendant George Pineda is a Vice President and Deputy General Counsel of PFL

 and, upon information and belief, resides in Los Angeles, California.

                               III.      JURISDICTION AND VENUE

         14.     This Court has subject matter jurisdiction over this action by reason of diversity of

 citizenship pursuant to 28 U.S.C. § 1332.

         15.     The amount in controversy in this action exceeds $75,000.00, exclusive of

 attorneys’ fees, interest, and costs.

         16.     Additionally, Plaintiff brings a claim under Section 2 of the Sherman Act,

 15 U.S.C. § 2 as well as claims under Fair Labor Standards Act (the “FLSA”) 29 U.S.C. §§ 201,

 et seq., and this Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

 and 1337(a), and section 4 of the Clayton Act, 15 U.S.C. § 15(a)(2).

         17.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)(1), (b)(2), and

 (c)(2) because Defendants are subject to personal jurisdiction in this District. This District has




                                              Page 3 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25       Page 4 of 75 PageID: 161




 personal jurisdiction because Defendants’ conduct business in this District and a substantial part

 of the events giving rise to Plaintiff’s claims took place in this District. Furthermore, Defendants

 transact business in this District and have engaged in activities in this District that subject them to

 the jurisdiction of this Court.

         18.     In addition, the governing written agreement mandates that the courts located in

 New Jersey shall have sole and exclusive jurisdiction over this dispute.

                     IV.     ALLEGATIONS COMMON TO ALL CLAIMS

         19.     Gegard has been a professional MMA fighter since 2003.

         20.     As is the case with virtually all professional MMA fighters, Gegard has fought

 throughout his career for MMA Promoters (defined in Section V. below) who plan and host Bouts

 and provide equipment and other services.

         21.     Gegard first fought professionally for the MMA Promoter Pride Fighting, and then

 moved on to start fighting for the MMA Promoter Dream Fighting in Japan (“Dream”), becoming

 a multi-weight champion in Dream.

         22.     Gegard also signed with the MMA Promoter Strikeforce in or around 2009,

 becoming its 205-pound champion.

         23.     Gegard then began fighting for the MMA Promoter Ultimate Fighting

 Championship (“UFC”) in 2013.

         24.     Then, on July 9, 2017, Gegard signed with Bellator and entered into a Fighter

 Promotional Agreement with Bellator on or about February 8, 2020 (the “2020 Agreement”),

 which was subsequently amended by an addendum entered into on or about October 3, 2023 (the

 “Addendum”) (collectively, the 2020 Agreement and the Addendum are referred to as the

 “Agreement”).




                                              Page 4 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25    Page 5 of 75 PageID: 162




        25.     Among other terms, the Agreement requires that Gegard’s services as a

 professional MMA fighter be rendered exclusively to PFL/Bellator: “Fighter [Gegard] hereby

 grants to Promoter the exclusive unrestricted, worldwide rights to secure, promote, arrange,

 present, coordinate, create and produce all MMA, martial arts, and unarmed contests (individually,

 a “Bout” and collectively, the “Bouts” to be engaged in by Fighter during the Term of this

 Agreement …”). [Emphasis supplied].

        26.     Gegard is one of the most successful fighters in Bellator’s history.

        27.     Gegard’s overall record is 49 wins and 9 losses with two different runs as a

 champion with Bellator.

        28.     Indeed, in the 10 Bouts in which he participated for Bellator, Gegard was either

 competing for the title or defending the title in 7 of those Bouts.

        29.     As of February 2022, ESPN was openly debating if Gegard was the best

 middleweight fighter in the World.1




 1
  https://www.espn.com/mma/story/_/id/33342235/bellator-275-gegard-mousasi-bellator-
 overlooked-middleweight-champion-best-world


                                              Page 5 of 75
Case 2:24-cv-09844-ES-JBC        Document 27        Filed 03/24/25      Page 6 of 75 PageID: 163




        30.    Khabib Nurmagomedov, widely considered one of the greatest MMA fighters of

 all time, called Gegard “the most underrated fighter in MMA today”:2




        31.    At the time the Agreement was entered, Gegard was coming off a victory against

 Lyoto Machida and was in a position where he could have rejoined UFC as his promotional

 company (Gegard had previously fought for UFC before joining Bellator in 2017).

        32.    However, Bellator induced Gegard to enter into the Agreement by raising his per

 bout compensation and further promising him eight (8) Bouts that were to be promoted under the




 2
  https://x.com/TeamKhabib/status/1497351500854480897;
 https://www.espn.com/mma/story/_/id/34131182/why-khabib-nurmagomedov-calls-bellator-
 gegard-mousasi-most-underrated-bouter-mma


                                           Page 6 of 75
Case 2:24-cv-09844-ES-JBC            Document 27        Filed 03/24/25    Page 7 of 75 PageID: 164




 Agreement. Gegard then entered into the Agreement, which provided that Gegard would receive

 guaranteed purse of $150,000.00 for his first four (4) Bouts, and then after his first four (4) Bouts

 were completed, Gegard would receive guaranteed purse for each subsequent bout of $200,000.00.

 Gegard would also receive a finish bonus of $50,000.00 for any Bouts won by knockout or

 submission, plus a promotional fee for each such bout of $600,000.00. Accordingly, after his fourth

 bout was completed, Gegard was guaranteed to earn $800,000.00 per bout, and up to $850,000.00.

          33.     Gegard completed the initial four (4) Bouts under the Agreement, winning against

 Douglas Lima on October 29, 2020 by decision, and winning by TKOs against John Salter on

 August 13, 2021 and Austin Vanderford on February 25, 2022.

          34.     Gegard then lost on a decision against Johnny Eblen (“Eblen”) on June 24, 2022.

          35.     This was Gegard’s first loss in three (3) years.

          36.     Having completed this fourth bout, Gegard’s guaranteed purse for future Bouts

 would now increase to $200,000.00. (See Id.).

          37.     Bellator, however, did not promote Gegard for nearly an entire year, with his next

 bout after the Eblen bout not scheduled until May 12, 2023, specifically as against Fabian Edwards

 (“Edwards”).

          38.     Despite aggressively asking to fight within 4 to 6 months after the Eblen bout (the

 standard bout schedule to which he was accustomed and the schedule that is the best for the

 fighter), Gegard was warehoused3 nearly an entire year by Bellator.

          39.     Gegard was very concerned Bellator intended to warehouse him indefinitely.

 Desperate to fight, Gegard took the Edwards bout despite carrying an injury that effectively forced

 him to fight Edwards with one arm.



 3
     Also known in fight parlance as being “marinated”.


                                               Page 7 of 75
Case 2:24-cv-09844-ES-JBC         Document 27        Filed 03/24/25     Page 8 of 75 PageID: 165




          40.    Gegard then lost the Edwards bout by decision.

          41.    During late 2022 another development arose, namely, PFL and Bellator began

 discussing a merger. These discussions appear to have commenced in or around the last quarter of

 2022, with public disclosure of the potential merger on January 5, 2023.4




          42.    On or around October 3, 2023, Gegard and Bellator entered into the Addendum.

          43.    The Addendum provided that the term of the Agreement would be extended by the

 earlier of eighteen (18) months from the date of the first bout after the Addendum was fully

 executed and effective or when Gegard had participated in three (3) Bouts.

          44.    On November 20, 2023, the Bellator / PFL merger was officially announced (the

 “Merger”). The official press release proclaimed that this new PFL would be “fighter-first”.5




 4
     https://www.mmamania.com/2023/1/5/23540348/bellator-up-for-sale-theyre-on-the-market
 5
   https://pflmma.com/news/professional-fighters-league-acquires-bellator-in-industry-
 transformative-deal


                                            Page 8 of 75
Case 2:24-cv-09844-ES-JBC   Document 27     Filed 03/24/25   Page 9 of 75 PageID: 166




                                   Page 9 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 10 of 75 PageID: 167




         45.     However, it would turn out that nothing could be further from the truth.

         46.     After the Merger, PFL/Bellator never promoted Gegard in another bout, despite

  Gegard and his representative, Nima Safapour (“Safapour”), aggressively and repeatedly

  demanding Bouts.

         47.     The Addendum was a subterfuge, intended to preserve Gegard as an asset of

  Bellator as a signed fighter for the purposes of Bellator’s sale to PFL, when Bellator in fact had no

  intention of promoting Gegard because PFL/Bellator did not want to pay its two-time champion

  Gegard the fees he was contractually owed on Bouts.

         48.     To get PFL/Bellator to start promoting Gegard, Safapour reached out to PFL’s

  Chairman and Founder Donn Davis (“Davis”) in early January 2024.

         49.     Davis replied by email to Safapour on January 8, 2024, stating: “I am aware of

  Gegard given his very high compensation. Given Gegard is not a PPV draw, and is not a Champion,

  his deal is very surprising. PFL is fighter first league, so we respect and empower all fighters. If

  he desires to have opportunities here then I can have Mike Kogan reach out to you and work on

  options with you.” (A true and correct copy of Davis’s email is attached hereto as Exhibit “A”.)

         50.     Mike Kogan was Bellator’s matchmaker, who was then hired by PFL (“Kogan”).

         51.     Gegard was signed to the Agreement, where PFL/Bellator agreed to promote

  Gegard, and had just signed an Addendum to that Agreement for three (3) more Bouts based upon

  promises that he would get three (3) more Bouts.

         52.     Yet now, post-Merger, PFL/Bellator’s Chairman was stating that: “if he [Gegard]

  desires opportunities here then I can have Mike Kogan reach out to you and work on options with

  you”, meaning, if Gegard wanted to fight, Gegard would need to renegotiate his fees and terms on

  a match-by-match basis with Kogan. (See Ex. A).




                                              Page 10 of 75
Case 2:24-cv-09844-ES-JBC           Document 27       Filed 03/24/25    Page 11 of 75 PageID: 168




         53.     In short, Davis made clear that PFL/Bellator had no intention of honoring the terms

  of Gegard’s Agreement and that further Bouts were contingent upon Gegard reducing his fees.

         54.     Indeed, even though Safapour and Gegard had repeatedly asked that Gegard be

  included on the Card (defined in Section V. below) for a major MMA event in Saudi Arabia,

  Gegard was not included on the Card when that event was announced on January 16, 2024.

         55.     Safapour emailed PFL/Bellator the next day, on January 17, 2024, noting that

  although Gegard was disappointed to have been left off the Saudi Arabia card, Gegard and

  PFL/Bellator needed to have a discussion about the plan for 2024, while proposing a range of

  options for Gegard to fight, including fighting at 185 pounds or even being willing to come up to

  205 pounds to fight Derek Brunson in the PFL $1 Million 205 pound weight class tournament. (A

  true and correct copy of Safapour’s emails with PFL/Bellator is attached hereto as Exhibit “B”.)

         56.     Safapour concluded by again requesting that PFL/Bellator advise “when can we

  please chat to make a plan for Gegard in 2024.” (See Ex. B.)

         57.     Unfortunately, Safapour received no response to this request.

         58.     Safapour then emailed PFL/Bellator again on January 23, 2024, noting that Ray

  Cooper (“Cooper”) was scheduled to fight on the Saudi Arabia card. Gegard had been told that

  Cooper was not an option for that card, even though a match between Gegard and Cooper would

  have been highly compelling. (See Id.)

         59.     Yet, Gegard was left off the Saudi Arabia card, while Cooper was included.

  Safapour concluded the email with a further request that “hopefully, we can have some promising

  strategy for 2024 for Gegard” while referencing that he and Kogan were supposed to speak the

  next day after the presser. (See Id.)




                                             Page 11 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25     Page 12 of 75 PageID: 169




           60.    In return, Kogan tersely replied (incorrectly) that most of what Safapour was saying

  was “unapplicable” and that “we will connect tomorrow after the presser.” (See Id.)

           61.    Safapour, in turn, replied stating that he was “happy to chat tomorrow” but that he

  was “concerned that there is a lack of motivation to activate Gegard that will damage his brand

  and his ability to make a contribution to the PFL platform” and that “all we want is to be good

  partners to PFL and to create a path forward to help build the brand. It is not easy to do that if we

  get marinated into obscurity.” (See Id.)

           62.    Despite promising to speak with Safapour, Kogan did not call or meet with

  Safapour that next day.

           63.    PFL/Bellator still provided no plan for Gegard, no Bouts for Gegard, and no

  response in general to Safapour’s inquiries.

           64.    Safapour followed up by email on February 20, 2024, again asking that

  PFL/Bellator “discuss and formulate a meaningful strategy for Gegard for 2024”. He further noted

  that he had “suggested 4 different fight options since January 2024 for Gegard” but that, despite

  PFL/Bellator’s contractual duty to promote, he received no discussion on any of those options.

  (See Id.)

           65.    Safapour reiterated that:

                  I have also asked numerous times both telephonically to Ray6 and
                  via email on this thread that we schedule a call so we can formulate
                  a strategy for 2024 for Gegard. I also said that Gegard would make
                  himself available for the call should you feel that would be helpful.
                  That seems to have been rejected as no one has responded to that
                  request. Mike Kogan has told me he will call me, but I have yet to
                  have received a phone call from him on this matter and it has been
                  ongoing since January.

  (See Id.).


  6
      Safapour is referring here to Ray Sefo, President of MMA promotions at PFL.


                                              Page 12 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25       Page 13 of 75 PageID: 170




          66.    Safapour further put PFL/Bellator on notice that:

                 He [Gegard] is not being allowed to fight actively, and from a
                 consumer’s perspective an impression is going to the market that
                 every time he fights he is coming out of retirement. Which is not
                 something we ever wanted.

                 The spirit of the deal between Bellator and Gegard was always for
                 him to fight a minimum of 2-3 times a year. He has averaged 1 fight
                 a year throughout his tenure at Bellator. Its very unfortunate, as these
                 are the best years of Gegard’s prime that are being wasted by
                 inactivity. We were always promised that he would be more active.
                 These are also the most important fights that will secure his
                 livelihood for his retirement. Instead, and respectfully, we are being
                 marinated into obscurity which can be fatal to Gegard’s brand and
                 his ability to bring value to your organization. Furthermore, Gegard
                 has actively been training without any knowledge of when he will
                 fight. I am afraid he will be susceptible to overtraining and getting
                 injured. We need to understand what is happening so we can
                 responsibly manage his training schedule and his finances. All of
                 which have been in further disarray due to the uncertainty of this
                 most recent merger.

                 At the end of the day, Gegard is one of the few legends left in the
                 sport that is still fighting very competitively. PFL is a fighter first
                 promotion, and Gegard wants to be a good partner and elevate the
                 PFL/Bellator brands. If you can please advise us on what the plan is
                 for 2024 we would greatly appreciate it as we need some structure
                 to plan out the year for Gegard’s finances and his training regimen.
  (See Id.).

          67.    In response, Davis made the following representations and promises: “We value all

  fighters, and never want anyone to not have information, so thanks for reaching out. We don’t

  know what the previous company promised, and obviously there are new plans now. What I can

  say is we will always be transparent partner with you. Mike [Kogan], please call tomorrow and

  provide update on our plans and thinking.” (See Id.).

          68.    Safapour responded indicating he would be available the next day for a call, with

  Kogan stating in return: “Yessir. Will connect”. (See Id.).




                                              Page 13 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 14 of 75 PageID: 171




          69.    Safapour and Kogan then spoke, with Safapour summarizing that call a few days

  later on February 23, 2024, in an email to Kogan and Davis, stating, “Mike assured me that the

  company is committed to finding a solution for Gegard, which we sincerely appreciate.” (See Id.).

          70.    Yet, despite these representations from the highest levels within PFL/Bellator, no

  meaningful conversation was engaged in and no plan for Gegard was proposed by PFL/Bellator.

          71.    Safapour followed up on February 29, 2024, after learning that Patricio Freire was

  swiftly scheduled on short notice to fight on March 22, 2024, despite having suffered two

  consecutive losses prior to that bout, and reiterating that, as Gegard was facing up to a year or

  more without competing, he “kindly request[s] that Gegard be booked for an upcoming event in

  the coming months” and that “given the precedent set with Patricio’s situation, I trust we can find

  a similar solution for Gegard, especially considering the length of time he has been sidelined.”

  (See Id.).

          72.    Safapour received no response.

          73.    Safapour then followed up again on March 19, 2024, stating: “It has come to our

  attention that, due to the scheduling constraints imposed by the new partnership, Gegard may not

  have the opportunity to compete until September, following the Dublin event in June. This

  prolonged period of inactivity—nearly 1 ½ years since his last contest—poses significant risks to

  Gegard’s legacy, his ability to adequately prepare for a fight, and his financial well-being. That is

  assuming he gets booked for September which there is no reason to believe will even happen.”

  (See Id.).

          74.    Safapour further reiterated that “Despite our attempts to address this matter, the

  responses received thus far have been inadequate. Last December, I personally brought attention

  to the seriousness of this issue to various senior members of the talent team which I received almost




                                              Page 14 of 75
Case 2:24-cv-09844-ES-JBC             Document 27          Filed 03/24/25    Page 15 of 75 PageID: 172




  no response. Thereafter, excuses have been provided for Gegard’s forced inactivity, which only

  serve to exacerbate our concerns. Our suggestions for potential matchups, including fighters like

  Ray Cooper, were immediately dismissed because we were told Cooper was unavailable.

  However, a few short weeks after he was booked on the exact event we requested against another

  opponent.” (See Id.).

            75.     Considering Gegard’s treatment, and the lack of engagement from PFL/Bellator,

  Safapour concluded the email by stating: “It is evident that there is a fundamental lack of intention

  and reckless disregard to honor the commitments made to Gegard. If this is indeed the case, I

  believe we are left with no choice but to explore the option of PFL buying out Gegard’s contract.

  That is not what we wanted as we were enthusiastic and optimistic about the merger. However, I

  don’t see any other choice if PFL refuses to perform. With that being said, if there remains a

  genuine desire to fulfill the terms of the agreement in good faith, then we must engage in a

  constructive dialogue on how Gegard will be utilized immediately for the 2024 calendar. I request

  that you provide clarity on the next steps by Monday, March 25, 2024. As always, I am available

  at your earliest convenience to discuss this matter further.” (See Id.).

            76.     Safapour received no response from PFL/Bellator. Safapour wrote a final written

  plea to PFL/Bellator on March 26, 2024 to attempt to resolve this situation, stating:

                    I hope this email finds you well. Congratulations on your Belfast
                    event. I was happy to see that Patricio7 was able to fight on short
                    notice, and have the opportunity to redeem himself and his legacy
                    after two consecutive losses.

                    We were hoping to receive a response from you and your team
                    yesterday. Similar to the last few emails I have sent, we have
                    received no communication or efforts to resolve this problem with
                    Gegard and PFL despite how pressing this matter has become. With
                    that being said, I listened to Don’s interview with Ariel Helwani last


  7
      Safapour is referring to Patricio Freire.


                                                  Page 15 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 16 of 75 PageID: 173




                 week in which he was promoting the upcoming Riyad PPV. He
                 mentioned and promoted various inactive PFL fighters like Cyborg
                 and Francis. Unfortunately, zero mention was made of Gegard being
                 on that card despite there being no question that the budget could
                 support having him on that event. It is disappointing to be in a
                 situation where we have a promoter that either does not have a
                 priority to promote us, or does not have an intention to book Gegard
                 for a fight that has been owed for over a year now. My question is
                 does PFL have an intention and a commitment to book Gegard on
                 the Riyad PPV event? Please note, that even if he gets booked on
                 that card and assuming it happens in September, that will be
                 approximately 1 ½ years that Gegard has been marinated during a
                 vital era of his career. Which is unacceptable. Every quarter that PFL
                 refuses to perform is another critical portion of Gegard’s career that
                 is wasted that he can not get back.

                 Please also note that parties have been contacting us asking if we are
                 retired. Which is insane as we have been ready, willing, and able to
                 compete 2-3 times a year for the last 7 years. We have not responded
                 up until this point as we have tried to gain clarity with what your
                 intentions and plans are with Gegard. Which has been unsuccessful.
                 As we are clearly not being promoted by our promoter, and false
                 rumors are swirling in the market about Gegard to the detriment of
                 his brand; we have no choice but to promote ourselves. We are in
                 the process of scheduling various interviews with high profile
                 journalists in our space to give an update on Gegard.

                 I hope we can find a resolution to this outstanding problem.
  (See Id.).

          77.    However, despite the repeated efforts of Gegard and Safapour, and despite Gegard

  being ready, willing, and able to fight, PFL/Bellator never responded to these requests and

  continued to warehouse Gegard, causing tremendous damage to Gegard’s career.

          78.    Receiving no direct responses from PFL/Bellator, and having not competed in 11

  months, Gegard conducted an interview with a leading MMA blog MMAJunkie on April 16, 2024,

  stating, among other things, that:

                 I knew there would be the sale. After that, there was no
                 communication. We tried to contact PFL to get more information
                 about what’s going on, what they want to do next. But it feels like
                 they’re ignoring us. I talked to Mike [Kogan]. He went from Bellator


                                              Page 16 of 75
Case 2:24-cv-09844-ES-JBC           Document 27         Filed 03/24/25     Page 17 of 75 PageID: 174




                  to PFL. I told him, ‘Give me information what you want to do with
                  me.’ They keep me on ice, let’s say. They feel like I’m getting paid
                  too much. They don’t want to give me the fights. They owe me. But
                  I know from other fighters that made the same, they fought already.
                  There’s no effort from them.

                  The problem is my manager tried to contact them and they don’t
                  even respond,” Mousasi said. “There’s no effort to promote or get
                  me a fight. It’s radio silence with them. People think I’m retired.
                  They’re trying to be No. 2 organization in the world, but I think at
                  least what they can do is tell me what their plans are with me.

                  I know they owe me a fight. They have a contract with me. They
                  want to maybe put pressure on me to take a pay cut. But why would
                  I do that? I know they owe me fights. I know better, let’s say that.

                  I know my rights with what’s in the contract,” Mousasi said. “I’m
                  waiting for them to respond and give me a fight. This is my way to
                  send a message to them at least, because it’s difficult to get them on
                  the phone. I have to go media. It’s like UFC cutting fighters and they
                  find out online. I have to communicate through media with them.
                  It’s crazy.

                  Every promotion has its own thing. UFC would give me every three,
                  four months a fight, but they wouldn’t pay me enough. Bellator, they
                  paid me more, but I would fight a lot less. Now with PFL, they don’t
                  even give me a fight. This is the worst, I think. They don’t even talk
                  to you. It’s like an ex-girlfriend or something.8

         79.      Yet, despite even making this plea through the media, PFL/Bellator remained silent

  and took no actions to try to promote Gegard in a bout.

         80.      In a final attempt to resolve this situation, Safapour met with Kogan and Eduardo

  Cunha Lima (PFL/Bellator’s Senior Director of Fighter Relations) in Paris, France on or about

  May 17, 2024.




  8
   https://mmajunkie.usatoday.com/2024/04/mma-news-gegard-mousasi-frustrated-radio-silence-
  pfl-feeling-pressured-take-pay-cut


                                               Page 17 of 75
Case 2:24-cv-09844-ES-JBC          Document 27          Filed 03/24/25    Page 18 of 75 PageID: 175




         81.     During the meeting, Kogan stated that PFL/Bellator are not giving any attention to

  Gegard and that Kogan even “hijacked” a talent call to discuss Gegard and try and force the issue

  with PFL but that nothing was resolved.

         82.     Kogan even asked Safapour if he had spoken to other promoters to see if Gegard

  could fight elsewhere, and that if Safapour wanted to do it discreetly Kogan would not mind.

         83.     Safapour reminded Kogan that Gegard was under exclusive contract with

  PFL/Bellator and that Safapour and Gegard had not spoken to any other promoters.

         84.     Kogan then said there was no way to get any movement from PFL/Bellator, but that

  he did believe with certainty that he could get Gegard a full release from PFL/Bellator or that, if

  Gegard would take less money than what he was contractually entitled to, Kogan could potentially

  convince PFL/Bellator to give Gegard more priority on Bouts.

         85.     Kogan then advised Safapour to get an attorney and draft a legal letter, as that might

  get PFL/Bellator more focused on Gegard’s issues.

         86.     Safapour responded that they really preferred to deal with things diplomatically and

  that they simply wanted the Bouts that were promised to Gegard.

         87.     Later that day Safapour was with Gegard and they encountered Kogan on the

  second floor of the fighter hotel where the temporary offices for PFL/Bellator were located and

  where the fighter workout rooms were, and Kogan regurgitated everything he said in the morning

  meeting in front of Gegard, namely that Gegard was “too expensive,” and that Gegard should

  retain an attorney to draft a demand letter to send to PFL/Bellator to get its attention so perhaps

  they might prioritize matters with Gegard.




                                               Page 18 of 75
Case 2:24-cv-09844-ES-JBC          Document 27        Filed 03/24/25     Page 19 of 75 PageID: 176




         88.     As such, PFL/Bellator’s own representatives had now expressly stated that

  PFL/Bellator had no intention of honoring the Agreement and that, if anything, PFL/Bellator were

  repudiating the Agreement.

         89.     Five (5) days after the Paris meeting, and after PFL/Bellator had repudiated the

  Agreement and directly told Gegard the only way he would elicit a response would be to hire a

  lawyer and threaten litigation, Gegard conducted an interview with the blog MMAFighting on

  May 22, 2024, accurately stating that PFL/Bellator were not being communicative, that they had

  no intention of promoting him in future Bouts, that he made too much money, and that his only

  recourse was legal action.

         90.     PFL/Bellator purports to have then terminated the Agreement claiming that

  Gegard’s statements violated the Agreement (the very Agreement PFL/Bellator had repudiated

  and never honored). A true and correct copy of the purported termination of the Agreement by

  PFL/Bellator is attached hereto as Exhibit “C”.

         91.     Any purported notice of termination was ineffective as it was not sent in conformity

  with the notice provisions of the Agreement, which provisions require that for email notice, any

  such email notice must be confirmed (and is only effective upon the “successful sending of the

  confirmed facsimile or email …”. [emphasis supplied]. The email purporting to terminate the

  Agreement PFL/Bellator sent was never confirmed.

         92.     Gegard, through his counsel, sent PFL/Bellator a Notice and Demand on July 31,

  2024, demanding, among other things, that pursuant to Section 16(F) of the Agreement,

  PFL/Bellator cure its breaches of the Agreement.




                                             Page 19 of 75
Case 2:24-cv-09844-ES-JBC             Document 27        Filed 03/24/25   Page 20 of 75 PageID: 177




         93.        PFL/Bellator’s response failed to cure its breaches of the Agreement, and Gegard,

  through his counsel, expressly informed PFL/Bellator by email on August 14, 2024 that

  PFL/Bellator’s response failed to cure its breaches.

         94.        To date, neither Gegard, nor Safapour, nor Gegard’s counsel, has received any

  further offer to cure PFL/Bellator’s breaches.

               V.       ALLEGATIONS COMMON TO THE SHERMAN ACT CLAIM

         95.        As used herein:

          a.     “Bout” means a sanctioned, supervised unarmed MMA contest between two
  individuals where competitors utilize a combination of martial arts disciplines to attempt to defeat
  their opponent within a regulated arena or ring, adhering to a specific set of rules and regulations
  established by relevant athletic commissions.

          b.    “Card” means the identification of all of the Bouts that occur during a single MMA
  event. The Card typically consists of the Main Card and the Undercard.

         c.     “Main Card” consists of Bouts between higher-profile and more established
  Professional MMA Fighters and are featured on the main broadcast of the event, ending with a
  main event featured bout, and frequently, a co-main event featured bout.

          d.      “Undercard” consists of preliminary Bouts that occur before the Main Card of a
  particular Card and are typically not included on the main broadcast of the event. Typically,
  promoters intend the Undercard to provide fans with an opportunity to see up-and-coming and/or
  local Professional MMA fighters or fighters who are not as well-known, popular, or accomplished
  as their counterparts on the Main Card.

         e.       “Elite Professional MMA Fighter” means any Professional MMA Fighter who
  has demonstrated success through competition in local and/or regional MMA promotions, or who
  has developed significant public notoriety amongst MMA Industry media and the consuming
  audience through demonstrated success in athletic competition who can command a guaranteed
  purse of at least $100,000.00 per Bout.

          f.      “Bellator/PFL Fighter” means a person who is paid by PFL/Bellator for
  participating in one or more professional MMA Bouts promoted by PFL/Bellator and/or whose
  NIL was acquired for use and/or used in Promoter Licensed Merchandise and/or Promoter
  Promotional Materials.

         g.      “Bellator/PFL Licensed Merchandise” means all apparel, footwear, hats,
  photographs, souvenirs, toys, collectibles, trading cards, and any and all other similar type
  products, including the sleeves, jackets and packaging for such products, that is (i) approved by



                                               Page 20 of 75
Case 2:24-cv-09844-ES-JBC           Document 27         Filed 03/24/25       Page 21 of 75 PageID: 178




  PFL/Bellator, (ii) contains the trademarks, trade names, logos and other intellectual property
  owned or licensed by PFL/Bellator, including without limitation, the licensed marks, and (iii) not
  created, used or sold in connection with the promotion of any Bouts, Pre-Bout Events or Post-Bout
  Events.

          h.      “MMA” means a competitive individual sport in which competitors use
  interdisciplinary forms of martial arts that include, e.g., jiu-jitsu, judo, karate, boxing, kickboxing,
  taekwondo, and/or wrestling to their strategic and tactical advantage in a supervised match.
  Scoring in live professional MMA Bouts is based on state athletic commission-approved
  definitions and rules for striking (blows with the hand, feet, knees or elbows) and grappling
  (submission holds, chokeholds, throws or takedowns).

           i.      “MMA Industry” means the business of promoting live MMA Bouts and may also
  include the promotion of Pay-Per-View MMA events to generate Pay-Per-View revenues and
  ticket sales as well as ancillary activities such as: the sale of live and taped television programming,
  video-on-demand, merchandise (videos, DVDs, video games, apparel, hats, sporting equipment,
  etc.), event and fighter sponsorships, and the collection of MMA-related copyright and trademark
  royalties.

         j.       “MMA Promoter” or “MMA Promotion” means a person or entity that arranges
  professional live MMA Bouts for profit.

         k.     “NIL” of a Bellator/PFL Fighter means the name, professional name (e.g.
  sobriquet), image, likeness, voice, persona, signature, and/or biographical information of a
  Bellator/PFL Fighter.

          l.      “Pay-Per-View” or “PPV” means a type of pay television or broadcast service by
  which a subscriber of an Internet or television service provider can purchase events to view live
  via private telecast or Internet broadcast. The events are typically purchased live, but can also be
  purchased for several weeks after an event first airs. Events can be purchased using an on-screen
  guide, an automated telephone system, on the Internet or through a live customer service
  representative.

        m.     “Professional MMA” or “Professional MMA Fighter” means a person who is
  compensated as a combatant in a Mixed Martial Arts bout.

         n.      “Relevant Input Market” means the market for live Elite Professional MMA
  Fighter Services.
                                   Overview of the MMA Industry

          95.     The popularity of MMA as a combat sport surged in the 1990s, making Professional

  MMA one of the fastest-growing spectator sports in the U.S. and North America.




                                               Page 21 of 75
Case 2:24-cv-09844-ES-JBC           Document 27         Filed 03/24/25   Page 22 of 75 PageID: 179




         96.     Elite Professional MMA Fighters, among the world’s most respected athletes, are

  world-class and Olympic-caliber competitors who excel in multiple martial arts disciplines—such

  as wrestling, judo, jiu-jitsu, Muay Thai, taekwondo, karate, and boxing—in one-on-one Bouts.

  They typically achieve elite status after years of success in local or regional MMA promotions.

         97.     Unlike many organized sports, MMA Promotions are not structured into leagues or

  teams. Professional MMA Fighters usually compete against others under contract with the same

  promoter, with events featuring seven to twelve Bouts organized by weight class on a Card. The

  Card’s strength—driven by the notoriety of its fighters—determines ticket sales, broadcast

  viewership, merchandise revenue, and sponsorship rates.

                                     The Relevant Input Market

         95.     The Relevant Input Market is the market for live Elite Professional MMA Fighter

  Services. Elite Professional MMA Fighters train for years in multiple martial arts disciplines—

  wrestling, judo, jiu-jitsu, Muay Thai, karate, taekwondo, and boxing—to compete in sanctioned

  Bouts under athletic commission rules.

         96.     PFL/Bellator has monopsony power in the Relevant Input Market.

         97.     PFL/Bellator’s own press release demonstrates the power PFL/Bellator has over

  the Relevant Input Market describing itself as the “industry co-leader” with UFC with a fighter

  roster that is “equal in stature to UFC.”9




  9
    https://pflmma.com/news/professional-fighters-league-acquires-bellator-in-industry-
  transformative-deal


                                               Page 22 of 75
Case 2:24-cv-09844-ES-JBC           Document 27         Filed 03/24/25      Page 23 of 75 PageID: 180




         98.     As PFL/Bellator well knows, post-Merger, there are only two realistic options for

  fighters that want to compete in elite-level MMA – either with PFL/Bellator, or UFC. Despite their

  “fighter first” rhetoric, PFL/Bellator has used its new market position instead to relentlessly

  depress fighter wages, ruthlessly wielding their monopsony power.

         99.     Elite Professional MMA Fighters are elite athletes who typically train for years

  before competing professionally. In live professional MMA Bouts, mixed martial artists compete

  by using multiple disciplines of martial arts, including wrestling, judo, jiu-jitsu, Muay Thai, karate,

  taekwondo and boxing. Such Bouts are registered with, sanctioned by and conducted according to

  rules promulgated by the Athletic Commission (or equivalent thereof) for the jurisdiction in which

  the bout is held.

         100.    Elite Professional MMA Fighters are typically compensated for participating as a

  combatant in a live Elite Professional MMA bout.




                                               Page 23 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25      Page 24 of 75 PageID: 181




         101.    No other sports are reasonable substitutes. Athletes in boxing or single-discipline

  martial arts (e.g., judo, karate) lack the cross-disciplinary skills required for MMA. Alternative

  martial arts like judo or Brazilian Jiu-Jitsu offer limited, mostly amateur competitions with

  nominal or no pay, while boxing demands specialized striking training distinct from MMA’s

  broader focus. Professional wrestling, reliant on acting rather than athletic competition, is not a

  viable alternative.

         102.    Other martial arts disciplines do not have the audiences necessary for the ﬁghters

  to earn competitive wages or even generally to be paid at all. For this and other reasons, no material

  number of Elite Professional MMA Fighters could successfully transition to other sports suﬃcient

  to prevent a monopsonist in the market for Elite Professional MMA Fighter services from

  artiﬁcially suppressing Elite Professional MMA Fighter compensation by even a signiﬁcant

  amount for a substantial period of time.

         103.    For instance, with respect to judo, judo tournaments occur infrequently, and the

  major ones (World Championships, Olympics) are for “amateur” ﬁghters, that is, unpaid athletes.

  Brazilian Jiu Jitsu (“BJJ”) is a popular amateur sport, but there are very few tournaments that oﬀer

  more than nominal prizes (as opposed to awarding salaries or prize money to competitors) and

  even those occur rarely. Karate and Muay Thai, much like BJJ and judo, are mainly amateur

  disciplines. Muay Thai and kickboxing are striking disciplines that do not employ any of the

  grappling techniques of MMA of and in which knowledge and proﬁciency is required to

  successfully compete. None of these sports would be plausible alternatives for Elite Professional

  MMA Fighters who are facing artiﬁcial suppression of their compensation by a monopsonist in

  the market for Elite Professional MMA Fighter services.




                                              Page 24 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 25 of 75 PageID: 182




         104.    Neither boxing nor “professional” WWE wrestling provides reasonable alternatives

  for Elite Professional MMA Fighters. Professional boxing requires years of intensive, specialized

  and limited training in a striking art that MMA Fighters do not undergo. While Elite Professional

  MMA Fighters do train in boxing, that is but one of many martial arts disciplines Elite Professional

  MMA Fighters must practice, and it is not (and, indeed, cannot) be their sole focus. As a result, no

  material number of Elite Professional MMA Fighters could successfully transition to boxing

  suﬃcient to prevent a monopsonist in the market for Elite Professional MMA Fighter services

  from artiﬁcially suppressing Elite Professional MMA Fighter compensation below competitive

  levels by even a signiﬁcant degree for a substantial period of time.

         105.    Although professional wrestling does pay compensation to its “wrestlers,”

  professional wrestling events are staged, and depend predominantly on acting ability. It is

  extremely unusual for an athlete to possess the right combination of skills to excel in both MMA

  and professional wrestling, and furthermore, professional wrestling is not a sport at all requiring

  competition between athletes. For this reason alone, professional wrestling is not a reasonable

  substitute for MMA. No material number of Elite Professional MMA Fighters could successfully

  transition to professional wrestling suﬃcient to prevent a monopsonist in the market for Elite

  Professional MMA Fighter services from artiﬁcially suppressing MMA Fighter compensation by

  even a signiﬁcant degree for a substantial period of time.

         106.    Because other sports are not plausible alternatives for Elite Professional MMA

  Fighters, reducing the compensation of Elite Professional MMA Fighters below competitive levels

  by even a signiﬁcant degree for a substantial period of time will not cause suﬃcient numbers of

  Elite Professional MMA Fighters to switch to other sports or professions to make the Elite

  Professional MMA Fighter compensation suppression unproﬁtable. Quite simply, MMA is a




                                              Page 25 of 75
Case 2:24-cv-09844-ES-JBC          Document 27        Filed 03/24/25     Page 26 of 75 PageID: 183




  highly specialized and unique sport engaged in by elite athletes with years of cross-disciplinary

  training. They have nowhere else to deploy their highly-specialized skills.

         107.    Consequently, suppressing compensation below competitive levels will not drive

  Elite Professional MMA Fighters to other sports in sufficient numbers to deter a monopsonist, as

  their unique, multidisciplinary skills are not interchangeable elsewhere.

                                 The Relevant Geographic Market

         108.    The relevant geographic market for the Relevant Input Market is the United States,

  the U.K., the European Union, Saudi Arabia and the United Arab Emirates (the “Relevant

  Geographic Market”).

         109.    The Relevant Geographic Market is dominated by the UFC and PFL/Bellator, with

  very few realistic options for Elite Professional MMA fighters aside from those two MMA

  Promoters as no other MMS Promoters have any reach across the entire Relevant Geographic

  Market.

         110.    The UFC is the largest MMA Promoter in the Relevant Geographic Market, with

  PFL/Bellator second.

         111.    UFC and PFL/Bellator control the United States market for Elite MMA Fighters.

  There is a start-up MMA Promoter “Global Fight League” that is emerging, but that MMA

  Promoter has not yet promoted a single fight, and accordingly have zero market share at present.

         112.    In the United Kingdom, the UFC is the largest MMA Promoter, with PFL/Bellator

  second, with no other known promoters of Elite MMA Fighters (again meaning fighters who earn

  a guaranteed purpose of over $100,000 a fighter).

         113.    In the European Union, the UFC is the largest MMA Promoter, with PFL/Bellator

  second. There two regional promotions in the European Union, KSW (Konfrontacja Sztuk Walki)




                                             Page 26 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 27 of 75 PageID: 184




  and Oktagon promotions, but they only have a handful of Elite MMA Fighters and no reach across

  the entire Relevant Geographic Market, with KWS focused on Poland and Oktagon focused on the

  Czech Republic and Slovakia.

           114.   Regarding the Gulf States of Saudi Arabia and the United Arab Emirates, these

  markets are also dominated by UFC (largest) PFL/Bellator (second largest). Neither Saudi Arabia

  nor the UAE have homegrown MMA Promoters that promote across the Relevant Geographic

  Region or that have Elite MMA Fighters under contract.

           115.   Accordingly, in the Relevant Geographic Market, there are only two options for

  Elite Professional MMA fighters, the UFC or PFL/Bellator.

           116.   Regarding opportunities outside of the Relevant Geographic Market, the only truly

  viable market for Elite MMA fighters is the Asian market as the South American and African

  MMA markets are largely underdeveloped.

           117.   In the Asian market, there are two larger promoters, ONE Championship and

  RIZIN.

           118.   However, ONE Champtionship has largely deviated from MMA, choosing to focus

  on Muay Thai and other disciplines, with a focus on Bangkok, Thailand in particular as a base of

  fights and operations. Plaintiff is not a Muay Thai fighter, but is an Elite MMA Fighter, who is not

  based in Thailand or Asia at all, and ONE Championship is not an option for him.

           119.   As for RIZIN, it is focused almost entirely on Japan and its only Elite MMA

  Fighters are Japanese. As a promotion almost entirely dedicated to the Japanese market featuring

  Japanese fighters, RIZIN is not an option for Plaintiff who is not of Japanese descent.

           120.   Moreover, competing outside of the Relevant Geographic Market imposes

  substantial costs on Elite Professional MMA Fighters, including higher costs of training, travel,




                                              Page 27 of 75
Case 2:24-cv-09844-ES-JBC         Document 27         Filed 03/24/25    Page 28 of 75 PageID: 185




  and lodging and reduced sponsorship income. Moreover, Elite Professional MMA Fighters may

  have diﬃculty, or face signiﬁcant costs associated with, obtaining necessary visas and approvals

  for themselves, family members, sparring partners, or trainers needed for ﬁghting outside of the

  Relevant Geographic Market.

         121.    Moreover, any of the other MMA promotion companies that promote outside of the

  Relevant Geographic Market (e.g., that promote in Asia, Africa, Oceania, or Latin America) not

  mentioned above focus on regional or local ﬁghters, frequently holding only a few events per year

  while paying substantially less than $100,000 per Bout. Further, these MMA Promoters lack the

  prestige of PFL/Bellator, and Elite MMA Fighters would not view these MMA Promoters as

  interchangeable with PFL/Bellator.

         122.    As such, even if Plaintiff wanted to go outside of the Relevant Geographic Market

  he does not have the realistic option of fighting for ONE Championship or RIZIN as an Elite MMA

  Fighter, or any other local or smaller promoters across the World.

         123.    As a result, an Elite Professional MMA Fighter could not practically turn to an

  MMA Promotion company that is focused on Bouts outside of the Relevant Geographic Market to

  earn a living or competitive compensation as an Elite Professional MMA Fighter.

         124.    Accordingly, for Elite Professional MMA Fighters in the Relevant Geographic

  Market participation in MMA Bouts outside of the Relevant Geographic Market is not a reasonable

  substitute for Bouts in the Relevant Geographic Market.

         125.    As such, a monopsonist in the Relevant Input Market would only need to control

  ﬁghter services in the Relevant Geographic Market to be able to suppress Elite Professional MMA

  Fighter compensation substantially below competitive levels.




                                             Page 28 of 75
Case 2:24-cv-09844-ES-JBC         Document 27         Filed 03/24/25    Page 29 of 75 PageID: 186




         126.    Moreover, PFL/Bellator, by luring Elite Professional MMA Fighters from all over

  the World to fight exclusively for PFL/Bellator, deprive promoters of Elite Professional MMA

  Fighters outside of the Relevant Geographic Market of Elite Professional MMA Fighters.

         127.    Accordingly, no signiﬁcant number of Elite Professional MMA Fighters can earn

  competitive compensation for appearing in live Elite Professional MMA events outside of the

  Relevant Geographic Market.

         128.    Successful foreign ﬁghters participate in Elite Professional MMA Bouts for

  PFL/Bellator. But, to the extent PFL/Bellator are a net importer of foreign labor, this fact would

  serve to enhance its monopsony power and bargaining power vis-à-vis Elite Professional MMA

  Fighters as a whole.

         129.    In sum, in the Relevant Geographic Market, Plaintiff has only two choices,

  PFL/Bellator or UFC.

         130.    However, due to PFL/Bellator exclusive contract practices including in owning his

  NIL in perpetuity, he is effectively barred from UFC as well, leaving PFL/Bellator as a true

  monopsonist over his services and wages. This enhances enhancing PFL/Bellator’s monopsony

  power or, alternatively, its dominance in a duopsony with UFC.

                                    The Relevant Market Share

         131.    Within the Relevant Input Market, PFL/Bellator control a significant share.

         132.    Post-merger, PFL/Bellator has approximately 200 fighters, with around 30 Elite

  MMA Fighters earning at or above $100,000.00 in guaranteed money per Bout.

         133.    UFC has about 700 fighters, with around 140 Elite MMA Fighters earning at or

  above $100,000.00 in guaranteed money per Bout. Other promoters within the Relevant




                                             Page 29 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 30 of 75 PageID: 187




  Geographic Market, such as KSW and Oktagon, collectively employ only a handful of Elite MMA

  Fighters.

         134.     RIZIN and ONE Championship, are outside of the Relevant Geographic Market,

  with RIZIN essentially limiting its Elite MMA Fighters only to Japanese fighters.

         135.     Accordingly, across the Relevant Geographic Market there are a total of 170 Elite

  MMA Fighters.

         136.     There are no other United States Based MMA Promotion Companies that promote

  any Elite MMA Fighters within the Relevant Geographic Market other than UFC and

  PFL/Bellator.

         137.     As such, post-Merger, within the Relevant Geographic Market, PFL/Bellator

  control approximately 20% of the Elite MMA Fighters and UFC controls 80% of the Elite MMA

  Fighters, collectively dominating 100% of the Relevant Input Market in the Relevant Geographic

  Market. As such, and alternatively, even if PFL/Bellator’s 20% market share does not confer full

  monopsony power, its duopsony with UFC (100% combined share) violates Sherman Act Section

  2.

         138.     Significant barriers prevent new promotions from entering the market, including

  the difficulty of securing top talent, broadcast deals, and sponsorships.

         139.     For instance, new entrants like the Global Fight League require $150M–$300M to

  launch a season but struggle to raise capital due to the entrenched positions of PFL/Bellator and

  UFC, further solidifying their control over fighter compensation and opportunities.

         140.     Indeed, Global Fight League has yet to promote a single fight.




                                              Page 30 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25    Page 31 of 75 PageID: 188




         141.    The November 2023 Merger between PFL and Bellator significantly intensified the

  anticompetitive environment by reducing the possible options for Elite MMA Fighters from three

  competing promotions to just two.

         142.    This deliberate reduction in labor choice for Elite MMA Fighters, along with the

  sidelining of high-profile talent, demonstrates the Merger’s anticompetitive impact on the market

  and on Plaintiff specifically.

         143.    This highly limited market for Elite MMA Fighter Services gives PFL/Bellator

  substantial market power and allows PFL/Bellator to act as a monopsonist in the Relevant

  Geographic Market, limiting competitive alternatives for Elite MMA Fighters like Plaintiff, or

  alternatively, when viewed in conjunction with the UFC, forms a duopsony also limiting

  competitive alternatives for Elite MMA Fighters like Plaintiff.

         144.    In this concentrated market, PFL/Bellator can independently set lower wages,

  exploiting its position as a dominant buyer, whether as a monopsonist or, alternatively, as part of

  a duopsony with UFC.

         145.    In this concentrated market, PFL/Bellator and UFC can independently set lower

  wages, knowing fighters have no other options in the Relevant Geographic Market.

         146.    Plaintiff, for example, was pressured to accept reduced pay under threat of

  continued inactivity, a tactic made possible by PFL/Bellator’s monopsony or, alternatively,

  because of PFL/Bellator’s duopsony with UFC.

         147.    As such, pay for Elite MMA Fighters in the Relevant Geographic Market is notably

  lower than in more competitive sports labor markets, where athletes typically earn much higher

  guaranteed salaries and a higher share of revenue.




                                             Page 31 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25      Page 32 of 75 PageID: 189




         148.    The concentrated market structure, whether characterized as a monopsony, or

  alternatively as PFL/Bellator’s monopsony operating in a duopsony with UFC, has reduced the

  number of opportunities for Elite MMA Fighters.

         149.    When fighters cannot fight, they lose their marketability, allowing PFL/Bellator to

  depress wages even further.

         150.    The Merger has curtailed opportunities for Elite MMA Fighters to compete,

  enhancing the PFL/Bellator’s monopsony power by limiting viable alternatives outside of the

  PFL/Bellator and UFC.

         151.    Post-Merger, PFL/Bellator has further entrenched this reduction in competition.

  According to “Have Fighter Complaints Overshadowed 2024 PFL Championship Event?”

  published by MMA Junkie on November 26, 2024, the 2024 PFL Championship was marred by

  widespread fighter dissatisfaction, with the article noting that “a trio of current Bellator champions

  in Patricio Freire, Corey Anderson and Patchy Mix have come out with grievances against the

  company surrounding a lack of fights.”10

         152.    This Merger enabled PFL/Bellator to dictate terms to fighters, leveraging its

  enhanced market power.

         153.    Further, UFC, as alleged in Le v. Zuffa, similarly restricts competition as a

  monopsony, leaving fighters with no good competitive options. (See Le v. Zuffa, LLC, 2023 WL

  5085064, at *48 (D. Nev. Aug. 9, 2023).

  ///

  ///




  10
    https://mmajunkie.usatoday.com/2024/11/pfl-video-bellator-champions-complain-reaction-
  analysis


                                              Page 32 of 75
Case 2:24-cv-09844-ES-JBC           Document 27         Filed 03/24/25     Page 33 of 75 PageID: 190




                                  PFL/Bellator Has Monopsony Power
                         with Respect to Elite Professional MMA Fighter Services
         154.    At all times relevant, PFL/Bellator has and continues to have monopsony power in

  the Relevant Input Market, i.e., the market for Elite Professional MMA Fighter services, whether

  that market includes only the Relevant Geographic Market or, alternatively, the entire world.

         155.    The market for elite MMA fighter services is highly concentrated.

         156.    Along with the UFC, PFL/Bellator controls the vast majority of the market for Elite

  Professional MMA Fighter services in the Relevant Geographic Market.

         157.    PFL/Bellator thereby possesses the ability to reduce the demand of, and

  compensation for, Elite Professional MMA Fighter services without losing so much revenue as to

  make its conduct unproﬁtable.

         158.    The only alternative MMA Promoter at the level of PFL/Bellator is the UFC, and

  the UFC appears to engage in the same monopsony practices complained of here (see Le v. Zuffa,

  LLC, 2023 WL 5085064, at *48 (D. Nev. Aug. 9, 2023), and is therefore not a solution to the

  problems faced by the Bellator/PFL Elite MMA Fighters.

         159.    In addition, as more specifically outlined below, the Bellator/PFL Elite MMA

  Fighters are subject to exclusivity and so-called “matching clauses” restricting their ability to move

  to the UFC even if it did present a better alternative.

         160.    As a result of PFL/Bellator’s monopsony power in the Relevant Input Market, Elite

  Professional MMA Fighters therefore do not have the ability to turn to MMA Promoters other than

  PFL/Bellator or the UFC to earn competitive compensation in response to PFL/Bellator’s artiﬁcial

  suppression of demand and compensation for Elite Professional MMA Fighter services.

         161.    PFL/Bellator’s control of the Relevant Input Market aﬀords it the ability to, inter

  alia, (i) compensate Elite Professional MMA Fighters below competitive levels proﬁtably for a



                                               Page 33 of 75
Case 2:24-cv-09844-ES-JBC            Document 27        Filed 03/24/25   Page 34 of 75 PageID: 191




  substantial period of time, (ii) artiﬁcially suppress demand for Elite Professional MMA Fighter

  services below competitive levels, (iii) require Bellator/PFL Fighters to enter into restrictive

  contracts, (iv) impair or preclude Bellator/PFL Fighters from engaging in their profession or

  working with would-be rival promoters; (v) expropriate the rights to Bellator/PFL Fighters NIL in

  perpetuity for little or no compensation (which is below competitive levels), and (vi) expropriate

  the NIL and deprive Bellator/PFL Fighters of competitive levels of payment for the exploitation

  of their NIL in Bellator/PFL Licensed Merchandise and/or Promotional Materials licensed or sold

  by PFL/Bellator or their licensees.

         162.       PFL/Bellator has systematically warehoused elite fighters, including Plaintiff

  Gegard Mousasi, by signing them to exclusive contracts while failing to schedule them for fights.

  These diminished opportunities, reflect PFL/Bellator’s monopsony power, or alternatively its

  duopsony role with UFC, to artificially restrict competition, suppress wages, and harm fighters’

  marketability market-wide, not merely Plaintiff’s contract.

         163.       Prominent fighters such as Patricio “Pitbull” Freire, Corey Anderson, and Patchy

  Mix have been sidelined despite their readiness to compete. In the article “Patricio Pitbull Asks

  For Bellator Release Due to Inactivity: ‘They Know They Are In The Wrong”, Patricio Freire, a

  veteran Bellator champion, stated, “I need to stay active. We know I’m not getting any younger,”

  yet he has faced prolonged inactivity.11 This warehousing deprives fighters of earning

  opportunities and diminishes their market visibility, reinforcing PFL/Bellator’s control over the

  fighter market.




  11
    https://www.mmafighting.com/2024/12/4/24313296/patricio-pitbull-asks-bellator-release-
  inactivity-they-know-wrong-ufc


                                               Page 34 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 35 of 75 PageID: 192




         164.    Plaintiff Gegard Mousasi has been directly impacted by this warehousing practice.

  Despite his status as a two-time Bellator champion and one of the promotion’s most accomplished

  fighters, Plaintiff’s fight frequency dropped to once per year post-merger, far below the industry

  standard of two to three bouts annually.

         165.    Whether the relevant market is the Relevant Geographic Market only, or the entire

  World, PFL/Bellator are capable of artiﬁcially reducing compensation—and have in fact

  artiﬁcially reduced compensation—of Elite Professional MMA Fighters without causing so many

  Elite Professional MMA Fighters to switch to other sports or professions so as to make that

  compensation reduction unproﬁtable.

         166.    Barriers to entry in the Relevant Input Market are high. To become an Elite

  Professional MMA Fighter, one needs to be highly skilled and spend many years under specialized

  training in multiple martial arts disciplines. Because MMA is a unique blend of various martial

  arts disciplines, including boxing, Muay Thai (kick-boxing), judo, wrestling, BJJ, taekwondo and

  karate, a high level of proﬁciency in any one discipline alone is not suﬃcient to achieve elite level

  status as an Elite Professional MMA Fighter. For example, while a professional boxer may possess

  the mental and athletic skill to box and take blows in the form of punches, if he does not possess

  expert ability to grapple, wrestle or engage in other martial arts, he will not succeed as an Elite

  Professional MMA Fighter. Elite Professional MMA Fighters are rare multidisciplinary athletes

  who can perform at very high levels in more than one discipline. Also, training is costly and time

  consuming. PFL/Bellator exploits this scarcity thus foreclosing competition in the Relevant Input

  Market, whether as a standalone monopsonist or within a duopsony with UFC.

         167.    To achieve elite status, Professional MMA Fighters train daily, making alternative

  simultaneous full-time employment nearly impossible. Training also requires the services of




                                              Page 35 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25      Page 36 of 75 PageID: 193




  professional trainers and the relevant space and training equipment. To rise to the level of a ﬁghter

  capable of being promoted by PFL/Bellator, i.e., an Elite Professional MMA Fighter, a

  Professional MMA Fighter typically needs to work his or her way up the ranks in local and regional

  promotions, often earning very little money in the process.

            Use of Onerous and Exclusionary Contractual Terms for Anticompetitive Goals

         168.    As more fully set forth below, due to the anticompetitive scheme alleged herein,

  PFL/Bellator has been able to suppress Elite Professional MMA Fighters’ compensation to a very

  low percentage of the revenues generated from Bouts.

         169.    Athletes in sports such as boxing and the “Big 4,” i.e., football, baseball, basketball

  and hockey in the United States, generally earn more than 50% of league revenue, which is, upon

  information and belief, a signiﬁcantly higher percentage of revenues than those paid to

  Bellator/PFL Fighters.

         170.    PFL/Bellator has illegally acquired, maintained, and exercised monopsony power

  in the market for Elite Professional MMA Fighter services, i.e., the Relevant Input Market, through

  an aggressive series of exclusionary and anticompetitive acts. The anticompetitive eﬀects

  associated with this ill-gotten monopsony power manifest themselves as artiﬁcially suppressed

  compensation for Elite Professional MMA Fighters and the improper expropriation of Elite

  Professional MMA Fighters’ NIL resulting in artiﬁcial underpayments (including non-payment)

  to Bellator/PFL Fighters.

         171.    PFL/Bellator has illegally obtained and maintained its monopsony position in the

  Relevant Input Market (i.e., the market for Elite Professional MMA Fighter services), through an

  anticompetitive scheme to exclude and impair actual or potential rival MMA Promoters such that

  they do not have access to the Elite Professional MMA Fighters necessary to sustain and grow a




                                              Page 36 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25      Page 37 of 75 PageID: 194




  proﬁtable rival promotion company. As a result, Elite Professional MMA Fighters have no

  eﬀective alternative promoter with whom to contract for live Elite Professional MMA Bouts.

         172.    PFL/Bellator’s illegal monopsony position is sustained, in part, through the use of

  exclusive dealing agreements with Bellator/PFL Fighters that lock in Elite Professional MMA

  Fighter services perpetually and exclusively for PFL/Bellator. PFL/Bellator’s exclusive contracts

  foreclose would-be rival promoters from vital inputs—namely Elite Professional MMA Fighter

  services with the notoriety needed to sustain a successful live Elite Professional MMA promotion.

         173.    Through the anticompetitive scheme alleged herein, PFL/Bellator has garnered and

  maintained unrivaled bargaining power vis-à-vis Elite Professional MMA Fighters. PFL/Bellator

  uses its monopsony power to extract exclusionary and restrictive concessions from all of its MMA

  Fighters.

         174.    All Bellator/PFL Fighters are classiﬁed as independent contractors that are

  compensated based on the number of ﬁghts in which they participate. But PFL/Bellator uses

  standard form agreements with all or nearly all of the Bellator/PFL Fighters that require, inter alia,

  exclusivity and assignments of the rights to Fighters’ Identities. Given that, through the alleged

  scheme, PFL/Bellator dominates the Relevant Output Market, i.e., the market for promoting live

  Elite Professional MMA events, Elite Professional MMA Fighters have little choice but to accept

  PFL/Bellator’s exclusionary terms if they want to try to earn a living as Elite Professional MMA

  Fighters.

         175.    PFL/Bellator’s Agreement with Gegard, and upon information and belief, with all

  the Bellator/PFL Fighters, contains, at least the following restrictive provisions:

         a.      The “Exclusivity Clause” which binds Bellator/PFL Fighters into a restricted

                 relationship with PFL/Bellator and prohibits them from appearing in Bouts




                                              Page 37 of 75
Case 2:24-cv-09844-ES-JBC      Document 27          Filed 03/24/25   Page 38 of 75 PageID: 195




             televised or organized by actual or potential competing or rival MMA Promotions

             unless approved by PFL/Bellator, thus preventing Bellator/PFL Fighters from

             receiving competitive purses from co-promoted or competitor MMA events. This

             clause blocks actual or potential competing or rival MMA Promoters from having

             access to Elite Professional MMA Fighters under contract with PFL/Bellator for

             protracted periods of time.

        b.   The “Champion’s Clause” which, if the Bellator/PFL Fighter is the current

             champion of any weight class at the end of the initial contract term, allows

             PFL/Bellator to extend the Bellator/PFL Fighter’s contract for at least an additional

             year, preventing the Bellator/PFL Fighter from financially benefiting from his or

             her “championship” status by soliciting competing bids from other MMA

             Promoters even after the end of his or her original contract term with PFL/Bellator.

             This clause specifically blocks actual or potential competing or rival MMA

             Promoters from having access to Elite Professional MMA Fighters, which are

             needed for actual or potential competing or rival MMA Promoters to hold events

             that would be commercially successful. This clause also denies Bellator/PFL

             Fighters free agency—despite their allegedly being independent contractors.

        c.   The “Right to First Offer” and “Right to Match” clauses which grant

             PFL/Bellator the option to match the financial terms and conditions of any offer

             made to a Bellator/PFL Fighter during the term of their existing contract by any

             other MMA Promoter(s). Because PFL/Bellator’s contracts typically require

             fighters to assign the Bellator/PFL Fighter’s name, image, likeness, voice, persona,

             and other identifying information (“NIL”) exclusively to PFL/Bellator in




                                           Page 38 of 75
Case 2:24-cv-09844-ES-JBC      Document 27        Filed 03/24/25      Page 39 of 75 PageID: 196




             perpetuity, any offers from actual or potential competing or rival MMA Promoters

             would likely be less attractive since they wouldn’t include compensation for the

             Bellator/PFL Fighter’s NIL rights, thus artificially suppressing competition and

             potentially forcing actual or potential competing or rival MMA Promoters to make

             significantly higher bids to secure the Bellator/PFL Fighter.

        d.   The “Ancillary Rights Clause” which grants PFL/Bellator exclusive and perpetual

             worldwide rights to the Bellator/PFL Fighter’s NIL, as well as the NIL of all

             “persons associated or affiliated with the Fighter [the Bellator/PFL Fighter] such as

             Fighter’s trainers, corners, seconds, or assistants”. These “Ancillary Rights” extend

             to any medium, including merchandising, video games, and broadcasts, for all

             commercial purposes, in perpetuity. This prevents the Bellator/PFL Fighter from

             profiting from their established reputation and restricts their post-contract career

             opportunities.

        e.   The “IP Clause” which prohibits the PFL/Bellator Fighter from using any of

             PFL/Bellator’s names, marks, logos, pictures, or even the championship belt(s)

             from PFL/Bellator, which thereby restricts the Bellator/PFL Fighter from referring

             to themselves as a “Bellator or PFL fighter” and from promoting their

             championship history with PFL/Bellator, without PFL/Bellator’s express written

             permission. This restricts the Bellator/PFL Fighters’ ability to promote themselves

             and limits the appeal to any actual or potential competing or rival MMA Promoters

             of contracting with the Bellator/PFL Fighter. As a result, actual or potential

             competing or rival MMA Promoters might be at a disadvantage when trying to

             contract with former Bellator/PFL Fighters or simply not want to, including former




                                         Page 39 of 75
Case 2:24-cv-09844-ES-JBC      Document 27        Filed 03/24/25      Page 40 of 75 PageID: 197




             champions, since those Bellator/PFL Fighters are restricted from promoting their

             championship history with PFL/Bellator.

        f.   The “Promotion Clause” which obligates Bellator/PFL Fighters to participate in

             promotional activities for Bouts in which they are scheduled to fight, including but

             not limited to, participating in press conferences, interviews, appearances, media

             shoots, and other sponsorship and promotional activities (any of which may be

             telecast, broadcast, recorded and/or filmed) and also requires cooperation with

             PFL/Bellator’s promotional efforts for any other Bouts, events, and broadcasts as

             reasonably required by PFL/Bellator. By contrast, according to PFL/Bellator, no

             aﬃrmative obligation exists for PFL/Bellator to promote the Bellator/PFL Fighter

             and PFL/Bellator regularly punishes athletes who do not bow to their whims by

             warehousing them.

        g.   The “Retirement Clause” which gives PFL/Bellator the power to “suspend the

             Term for the full and entire period of such retirement, regardless of its length”

             thereby effectively extending the Term of the agreements into perpetuity.

        h.   Tolling provisions, which extend the term of the Bellator/PFL Fighter’s contract

             during periods when he or she is injured, retired, or otherwise declines to compete,

             thus virtually prohibiting even disgruntled athletes from sitting out the term and

             signing with actual or potential competing or rival MMA Promoters. Gegard’s

             Agreement provides that: “Should any Bout be postponed or unable to be scheduled

             due to retirement, incarceration, loss of travel authorization or inability to obtain

             same, suspension by a Commission, positive drug test, unwillingness to compete,

             or any other similar reason, of Fighter, the obligation of the Promoter relating to




                                         Page 40 of 75
Case 2:24-cv-09844-ES-JBC      Document 27         Filed 03/24/25     Page 41 of 75 PageID: 198




             the Bouts, timing of the Bouts, required offers of Bouts and the Term of this

             Agreement shall, upon written notice from the Promoter to Fighter, be extended by

             the period of time necessary to reschedule and hold the postponed Bout (if a Bout

             was scheduled) or, if no bout was scheduled, the time necessary for Fighter to be

             able to participate in a bout to be thereafter scheduled and held.”

        i.   The “Sponsorship and Endorsement Clause” which grants PFL/Bellator sole

             discretion over all sponsorship and endorsement approvals. In eﬀect, the

             Sponsorship and Endorsement Clause requires the approval of PFL/Bellator before

             an entity can contract with a Bellator/PFL Fighter to sponsor or endorse the entity’s

             product or service during any PFL/Bellator’s events. This gives PFL/Bellator

             control over sponsors and Fighters and allows PFL/Bellator to block opportunities

             for sponsors where: (i) PFL/Bellator has decided to boycott the sponsor in

             retaliation for the sponsor having endorsed non-Bellator/PFL Fighters or otherwise

             worked with actual or potential rival MMA Promoters; (ii) the sponsors have

             refused to pay PFL/Bellator a fee for the right to sponsor a Bellator/PFL Fighter;

             or (iii) the sponsors are engaged in ancillary business endeavors that compete with

             PFL/Bellator in any segment of the MMA Industry that PFL/Bellator intends to

             dominate, such as, e.g., MMA publications, MMA video games, gyms, online

             MMA stores, energy drinks, online gaming sites, fan festivals and apparel

             providers. This clause gives substantial power to PFL/Bellator to block sponsors

             from working with actual or potential competing or rival MMA Promoters and to

             deprive them of key revenue opportunities for themselves and their ﬁghters, making




                                          Page 41 of 75
Case 2:24-cv-09844-ES-JBC          Document 27        Filed 03/24/25      Page 42 of 75 PageID: 199




                 actual or potential competing or rival MMA Promoters less proﬁtable and a less

                 attractive option for Elite Professional MMA Fighters.

         176.    All of PFL/Bellator’s contracts with Bellator/PFL Fighters—and the exclusionary

  provisions therein—taken together form part of PFL/Bellator’s anticompetitive scheme to impair

  actual or potential rivals and enhance its monopsony power in the Relevant Input Market.

  Cumulatively, the exclusionary contractual provisions deprive PFL/Bellator’s would-be rivals of

  all or virtually all the critical input necessary to compete in the MMA Industry, that is, Elite

  Professional MMA Fighter services.

         177.    As part of its exclusionary scheme, PFL/Bellator’s exclusive contracts make it

  impossible for Bellator/PFL Fighters who might someday wish to compete in the UFC to do so.

  As a result, Bellator/PFL Fighters have refused offers to fight for actual or potential rival

  promoters, even those that offer higher compensation, out of fear that PFL/Bellator would retaliate

  against both the promoter and the Fighter. Professional MMA Fighters are deterred by

  PFL/Bellator because Professional MMA Fighters recognize that being banned from future

  opportunities to fight for PFL/Bellator if they breach contracts will substantially diminish their

  ability to earn income as Elite Professional MMA Fighters. Moreover, PFL/Bellator has control

  over key sponsors that PFL/Bellator threatens to never work with if they contract with an Elite

  Professional MMA Fighter against PFL/Bellator’s wishes.

         178.    Indeed, as demonstrated by PFL/Bellator’s actions towards Gegard, PFL/Bellator

  are capable of artificially reducing compensation – and have in fact artificially reduced

  compensation – of fighters without causing so many fighters to switch to other sports or

  professions so as to make that compensation reduction unprofitable.




                                             Page 42 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25    Page 43 of 75 PageID: 200




            179.   Indeed, Gegard’s treatment by PFL/Bellator is a perfect encapsulation of

  PFL/Bellator’s monopsony power. Knowing that Gegard’s only other option is the UFC,

  PFL/Bellator warehoused Gegard and diminished Gegard’s brand to the point the audience

  believed he was retired, and then, with his brand tarnished, UFC was not even an option for

  Gegard.

            180.   Then PFL/Bellator leveraged its market position and monopsony to try to force

  Gegard to agree to less than what he was contractually owed.

            181.   Such conduct is not limited to Gegard. PFL/Bellator has relentlessly exercised its

  monopsony power to depress fighter wages across PFL/Bellator’s men’s and women’s rosters.

            182.   One example of PFL/Bellator’s abuse of its monopsony power is Douglas Lima, a

  three-time champion for PFL/Bellator who PFL/Bellator warehoused because Douglas Lima was

  being paid a high amount as a three-time champion, with Lima stating on the social media platform

  X that:




            183.   Notably, another prominent fighter, Cris Cyborg, replied “I’m having a hard time

  getting a bout agreement sent to me too!”


                                              Page 43 of 75
Case 2:24-cv-09844-ES-JBC         Document 27        Filed 03/24/25    Page 44 of 75 PageID: 201




         184.   Indeed, in response to posts on Instagram® about Gegard’s situation, multiple

  fighters responded stating that they too were being treated the same way by PFL/Bellator.

         185.   The Bellator/PFL Fighter Julia Budd commented:




         186.   The Bellator/PFL Fighter Joao Zeferino commented:




         187.   Douglas Lima further commented:




         188.   Patricio “Pitbull” Freire commented that:




                                            Page 44 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 45 of 75 PageID: 202




         189.    PFL/Bellator has exploited its market dominance to coerce fighters into accepting

  unfavorable contract terms including substantial pay cuts. As reported in “Patricio Pitbull ‘Worried

  About the Future” With Lack Of Fights Under PFL Banner: ‘This Is Wrong’” published by MMA

  Fighting on November 25, 2024, Patricio “Pitbull” Freire stated :”this merger has been a disaster

  for the sport of MMA” and “I am very worried about the future of Bellator and MMA in general…I

  feel very sorry for all the fighters who didn’t even get to fight this year or were cut because they

  just don’t make shows or thing they’re expensive, and all the fighters that were forced to take

  pay cuts.” [Emphasis Supplied].12

         190.    Plaintiff Gegard Mousasi endured similar coercion. As alleged in the original

  complaint, PFL executive Mike Kogan informed Plaintiff that he was “too expensive” and would

  need to accept less than his contracted $850,000 per bout to fight, despite his contractual rights.

  This mirrors the broader wage suppression strategy where fighters reported being pressured into

  unfavorable terms or facing indefinite inactivity.

         191.    PFL/Bellator’s ability to impose such conditions stems from its post-Merger market

  power, eliminating meaningful competition for elite fighter services.

         192.    PFL/Bellator has clearly engaged in a pattern of warehousing elite fighters, keeping

  them under contract without providing adequate fight opportunities.

         193.    In addition to the examples cited above, Corey Anderson and Patchy Mix have been

  warehoused as well since the Merger as reported in the article “Frustration Growing for PFL

  Fighters Patchy Mix, Corey Anderson Since Takeover”, published by Ringside Intel on November

  24, 2024, which Patching Mix stating on X® that: I’ve been training my ass off for the last half of




  12
    https://www.mmafighting.com/2024/11/25/24304707/patricio-pitbull-worried-about-the-
  future-with-lack-of-fights-under-pfl-banner-this-is-wrong


                                              Page 45 of 75
Case 2:24-cv-09844-ES-JBC            Document 27          Filed 03/24/25     Page 46 of 75 PageID: 203




  year for nothing….This is frustrating in the prime of my career and I’ve had my fight in November

  canceled? Then now again I’m behind told I’m off January Dubai card? I am the best in the world

  and I want to fight to prove it” and Corey Anderson stating: “Aging like warm cheese over here

  waiting for PFL to give me a call.”13

          194.    The Merger detrimentally impacted competition within the Relevant Input Market,

  as demonstrated by the diminished fight opportunities for prominent fighters like Plaintiff.

          195.    This consolidation has enabled PFL/Bellator to dominate fight scheduling,

  artificially restricting opportunities for elite fighters and weakening their leverage to secure

  equitable contract terms. By failing to offer a sufficient number of fight opportunities,

  PFL/Bellator has breached its contractual duties and engaged in anticompetitive practices that

  suppress fighter compensation, limit competition, and jeopardize the professional livelihoods and

  earning capacity of fighters like Plaintiff.

          196.    As detailed in the article “Patricio Pitbull asks for Bellator release due to inactivity”

  published by MMA Fighting on November 25, 2024, Patricio Freire stated: “We lost rhythm, we

  lost part of our careers waiting for something that never came. It’s bad for me as a champion. I

  need to stay active. We know I’m not getting any younger, too. So I spoke with my managers and

  since my contract is not that long, it’s close to the end, we’ll ask to leave. I need to work.”14

          197.    This inactivity has disrupted fighters’ career momentum (including Plaintiff’s) and

  diminished their earning potential, as consistent competition is critical for maintaining

  marketability and negotiating power.



  13
     https://ringsideintel.com/mma/pfl/pfl-news/frustration-growing-for-pfl-fighters-patchy-mix-
  corey-anderson/
  14
     https://www.mmafighting.com/2024/12/4/24313296/patricio-pitbull-asks-bellator-release-
  inactivity-they-know-wrong-ufc



                                                 Page 46 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25      Page 47 of 75 PageID: 204




         198.    Moreover, in the same article, Patricio Freire highlighted the pay cuts – e.g. wage

  suppression – forced on fighters by PFL/Bellator’s monopsonist tactics: “Basically, Douglas Lima

  and my brother [Patricky Pitbull], the high-caliber guys of the organization, they either re-signed

  with their purse cut in half or they would be cut…That was basically forced, you know? [PFL co-

  owner] Donn Davis said early in the merge that that would not happen, but it happened.”15

         199.    PFL fighter Kai Kamaka III publicly demanded his release from the promotion,

  citing significant grievances that mirror the Plaintiff’s own experiences. In the article “PFL Fighter

  Kai Kamaka III Follows Patricio Pitbull’s Lead, Asks For Release From Promotion,” published

  by MMA Fighting on January 17, 2025, Kamaka stated on X®, “PFL doesn’t respect or value any

  of their fighters. I’m done being quiet about it. Let me go too. You want to strip us of our dignity

  imprison us to your ever changing terms and drown our future potential. Let me go. I don’t ever

  want to wear your gloves again. @PFLMMA.”16

         200.    PFL/Bellator’s anticompetitive conduct has drastically reduced the opportunities

  for Elite MMA Fighters. This reduction in opportunities limits Elite MMA Fighters’ opportunities

  to compete and earn income, a direct consequence of the Merger and PFL/Bellator’s consolidation

  of market power.

         201.    This diminished output reflects the concentrated structure of the Relevant Input

  Market where PFL/Bellator operates as a monopsonist, or alternatively, in conjunction with UFC,

  in a duopsony, to dominate the Relevant Input Market. With fewer promotions offering viable




  15
     https://www.mmafighting.com/2024/12/4/24313296/patricio-pitbull-asks-bellator-release-
  inactivity-they-know-wrong-ufc
  16
     https://www.mmafighting.com/2025/1/17/24346040/i-dont-ever-want-to-wear-your-gloves-
  again-kai-kamaka-iii-asks-for-release-from-promotion;
  https://x.com/kaiboikamaka/status/1880288286532575540


                                              Page 47 of 75
Case 2:24-cv-09844-ES-JBC          Document 27        Filed 03/24/25     Page 48 of 75 PageID: 205




  platforms, PFL/Bellator’s control over event production limits opportunities for fighters like the

  Plaintiff, harming competition in the market for elite MMA fighter services.

         202.    With fewer promotions offering viable platforms, fighters face reduced bargaining

  power, enabling PFL/Bellator to suppress wages and impose restrictive terms. This scarcity of

  events has stalled careers, including Plaintiff’s, as PFL/Bellator refuses to promote him in bouts

  despite his contractual entitlement.

         203.    This warehousing deprives fighters of earning opportunities and diminishes their

  market visibility, constituting anticompetitive conduct.

         204.    PFL/Bellator has clearly engaged in a broad scheme among Bellator/PFL Fighters

  to depress their wages and compensation.

         205.    Post-Merger, PFL/Bellator has pressured fighters to accept reduced compensation

  under threat of continued inactivity. For example, offers have been made to lower $100,000

  show/$100,000 win deals to a flat $100,000 for more fights.

         206.    Indeed, Plaintiff was presented with a ‘renegotiate or sit’ ultimatum by

  PFL/Bellator, coercing him into unfavorable terms. This conduct directly suppresses fighter

  compensation below competitive levels.

         207.    Furthermore, PFL/Bellator’s contractual rules and industry norms prevent fighters

  like Plaintiff from negotiating with other promoters. Despite his desire to compete elsewhere,

  Plaintiff remains bound by his contract, and rival promoters are deterred from engaging due to

  fears of tortious interference lawsuits. This effectively blocks Plaintiff’s ability to seek better

  opportunities, reinforcing PFL/Bellator’s monopsony power.

         208.    PFL/Bellator has an almost completely captive labor market, with each

  Bellator/PFL Fighter having invested so much time, energy, and money to get to the level of an




                                             Page 48 of 75
Case 2:24-cv-09844-ES-JBC           Document 27         Filed 03/24/25    Page 49 of 75 PageID: 206




  Elite MMA Professional Fighter, they are forced to adhere to PFL/Bellator’s coercive tactics,

  including one-sided exclusive contracts and assigning their NIL in perpetuity to PFL/Bellator.

          209.     And then, if a Bellator/PFL Fighter, such as Gegard, simply wants to enforce their

  own contract and get promoted to fight Bouts for the wages PFL/Bellator has agreed to pay,

  PFL/Bellator exercises its monopsony power and warehouses them, forcing them to either fight

  for less, or not fight at all.

          210.     There are no legitimate procompetitive justifications for the anticompetitive

  conduct alleged in this Complaint, or for any aspect of the anticompetitive conduct standing alone.

  Even if, arguendo, such justifications existed, there are less restrictive means of achieving those

  purported procompetitive effects. To the extent the anticompetitive conduct or any aspect of the

  anticompetitive conduct has any cognizable procompetitive effects, they are substantially

  outweighed by the anticompetitive effects.

          211.     This anticompetitive conduct has clearly harmed and damaged Gegard.

          212.     Gegard was locked into an exclusive Agreement, which prevented him from

  fighting for the only realistic alternative MMA Promoter, the UFC.

          213.     PFL/Bellator leveraged that exclusivity by exploiting the Agreement in bad faith to

  warehouse Gegard, unless he agreed to fight for far less than what he was contractually owed,

  thereby leveraging PFL/Bellator’s monopsony power over Gegard to lower his wages.

          214.     PFL/Bellator’s monopsony power was so great in fact, that, after they were done

  warehousing Gegard, his career and reputation had been damaged to such a degree, his wages are

  permanently depressed, and he cannot find Bouts for anything close to what he was contractually

  owed, whether for PFL/Bellator or any other promotion.




                                               Page 49 of 75
Case 2:24-cv-09844-ES-JBC           Document 27         Filed 03/24/25       Page 50 of 75 PageID: 207




           215.   Accordingly, this monopsony perpetrated by PFL/Bellator is such that it cost

  Gegard the $2,550,000.00 in wages Gegard should have been paid by PFL/Bellator for the three

  Bouts that Gegard was contractually owed, which wages were lost because PFL/Bellator tried to

  illegally depress his wages by warehousing him unless he agreed to reduce his contractually owed

  wages.

           216.   This monopsony has further cost Gegard significant compensation as his reputation

  has been so damaged he can only find Bouts for a fraction of what he would have earned.

           217.   This monopsony has further lost Gegard numerous sponsorship opportunities due

  to being warehoused and wrongfully considered a “retired” fighter.

           218.   In total, the monopsony has damaged Gegard for millions of dollars in addition to

  the $2,550,000.00 in wages Gegard should have been paid by PFL/Bellator for his three Bouts as

  the enforced inactivity damaged Plaintiff’s legacy and marketability, as evidenced by reduced

  visibility and fan engagement. This constitutes a unique antitrust injury beyond the contractual

  wages he was owed.

           219.   PFL/Bellator’s warehousing and coercive tactics have inflicted irreparable harm on

  Plaintiff Gegard Mousasi’s career and reputation.

           220.   Prolonged inactivity has eroded his marketability, with media and fans speculating

  about his retirement. The lack of activity for high-profile fighters like Plaintiff prompted questions

  about his status, despite his willingness to compete. This reputational damage has curtailed

  Plaintiff’s earning potential, both in fight purses and sponsorships critical to elite fighters.

           221.   By failing to honor Plaintiff’s contract for three bouts, PFL/Bellator has also

  deprived him of opportunities to secure future contracts with other promotions. Successful

  performances in those fights could have positioned Plaintiff for lucrative deals, potentially with




                                               Page 50 of 75
Case 2:24-cv-09844-ES-JBC          Document 27        Filed 03/24/25     Page 51 of 75 PageID: 208




  the UFC. The warehousing and resulting reputational harm have left Plaintiff with limited options,

  a direct outcome of PFL/Bellator’s anticompetitive practices.

         222.    Expert analysis will demonstrate that, absent the anticompetitive scheme, Plaintiff

  would have been able to compete in the marketplace in his prime where his earnings would have

  been significantly higher. Instead, he was warehoused under the Promoter’s Defendants’

  monopsonist behavior to try and suppress his wages, thereby robbing him of his prime and ability

  compete in the marketplace during his prime.

         VI.     ALLEGATIONS COMMON TO THE MISCLASSIFICATION CLAIMS

         223.    PFL/Bellator purports to classify Gegard as an independent contractor rather than

  an employee.

         224.    PFL/Bellator has misclassified Gegard as an independent contractor rather than an

  employee.

         225.    Under New Jersey law (which PFL/Bellator, not Gegard, chose to govern this

  Agreement) an individual is presumed to be an employee unless the employer can demonstrate the

  following – known as the “ABC Test”:

         A.      Such individual has been and will continue to be free from control or

                 direction over the performance of such service, both under his contract of

                 service and in fact; and

         B.      Such service is either outside the usual course of the business for which

                 such service is performed, or that such service is performed outside of all

                 the places of business of the enterprise for which such service is performed;

                 and




                                             Page 51 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 52 of 75 PageID: 209




         C.      Such individual is customarily engaged in an independently established

                 trade, occupation, profession or business.

  See N.J.S.A. 43:21–19(i)(6); Hargrove v. Sleepy’s, LLC (2015) 220 N.J. 289, 305.

         226.    “[T]he failure to satisfy any one of the three criteria results in an ‘employment’

  classification.” Carpet Remnant Warehouse, Inc. v. N.J. Dep’t of Labor, 125 N.J. 567, 581 (1991)

  (emphasis supplied).

         227.    PFL/Bellator clearly fails the ABC Test.

         228.    Regarding prong A, to satisfy this prong, the worker must operate without the direct

  supervision or control of the hiring entity. This includes freedom in deciding how, when, and where

  the work is performed, and the hiring entity should not dictate the worker’s methods or schedule.

         229.    Here, the opposite is true, as PFL/Bellator holds Gegard to an exclusive contract,

  he cannot fight for anyone other than PFL/Bellator, and PFL/Bellator has total control over where,

  when and how Gegard fights, with the Agreement expressly stating that: “All Bouts shall be on

  dates and at sites to be designated by Bellator/PFL, in its sole and absolute discretion.”

         230.    PFL/Bellator further exercised control over Gegard’s conduct, requiring that

  Gegard: (a) conduct himself with “decency, social conventions and morals”; (b) “not commit any

  act, become involved in any situation or occurrence, or make any statement which will reflect

  negatively upon or bring disrepute, contempt, scandal, ridicule or disdain to [various persons and

  entities including PFL/Bellator]; (c) prohibiting Gegard from making any statements “demeaning

  to any race, religion, ethnic group, women, any group based upon sexual preference, and/or which

  encourage or glorify illegal acts”; (d) prohibiting Gegard from any conduct that would “shock,

  insult, or offend the public or reflect unfavorably upon any current or potential sponsor [and other

  related persons and entities]; (e) not to “authorize or be involved with any advertising material or




                                              Page 52 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 53 of 75 PageID: 210




  publicity statements that contain language or material generally considered to be obscene, libelous,

  slanderous, or defamatory; (f) “refrain from making any public statement or remark (whether

  spoken or in writing) that may damage or otherwise negatively affect [various persons or entities

  including PFL/Bellator]; (g) “not engage in any criminal conduct”; (vii) that Gegard stay “in good

  physical and mental health and will do nothing during the Term to potentially impair his health,

  including, but not limited to, the use of any illegal, prohibited, controlled or banned substances”;

  (h) “not engage in any abnormally dangerous activity having a potential for injury that could

  conceivably prevent Fighter [Gegard] from engaging in bouts”; (i) “not engage in any combat

  sports without the express written approval of [PFL/Bellator], including any and all martial arts,

  boxing, kickboxing, wrestling, or MMA (except as necessary for training activities); and (j)

  Gegard “will remain in good physical shape and within the designated weight class Fighter

  competed in when Fighter first entered into this Agreement, as set forth in Exhibit A, unless

  otherwise agreement in writing by [PFL/Bellator]”.

         231.    PFL/Bellator further controlled Gegard by controlling his attire during his work,

  requiring that Gegard agree that: (a) “no wording, symbol, picture, design, name, advertising, or

  informational material shall appear on his person, trunks, robe, shoes, or other items worn by

  Fighter, his trainers, seconds, or assistants without prior written approval of [PFL/Bellator] during

  any Bout Events hereunder”; (b) that Gegard “shall not display any wording, symbol, picture,

  design, name, advertising, or informational material on Fighter’s person, trunks, robe, shoes, or

  other items worn by Fighter, his trainers, seconds, or assistants during any Bout Events hereunder

  or at any [PFL/Bellator]-sponsored activity which is: (i) in conflict or competition with

  [PFL/Bellator] or the sponsors of [PFL/Bellator], ViacomCBS, Paramount Network or its

  successors; (ii) in conflict with the requirements of any telecaster; (ii) may cause injury to the




                                              Page 53 of 75
Case 2:24-cv-09844-ES-JBC            Document 27        Filed 03/24/25      Page 54 of 75 PageID: 211




  reputation or business of [PFL/Bellator], ViacomCBS, Paramount Network or its successors, or

  their respective sponsors; or (iv) is considered by [PFL/Bellator], in its sole discretion, to be in bad

  taste”.

            232.   PFL/Bellator further controlled Gegard by requiring that Gegard undergo medical

  testing, requiring him to: “complete a full physical medical examination and undergo testing and

  receive affirmative clearance therefrom, including, but not limited to, the following tests and

  examinations: CBC, Hepatitis B, Hepatitis C, HIV, RH and Blood Type, RPR, PT, PTT, Urinalysis

  with drug screening, EKG, CT Scan, MRI, Dilated Ophthalmological exam, and such other testing

  as [PFL/Bellator] or the applicable Commission may require.”

            233.   PFL/Bellator further controlled Gegard by not allowing him to assign his services

  under the Agreement, expressly requiring that his services were personal to PFL/Bellator under

  the Agreement: “The rights and obligations of Fighter arising from this Agreement are personal to

  Fighter and may not be assigned, licensed, pledged, or transferred for any reason.”

            234.   PFL/Bellator clearly fails prong A of the ABC Test, and fail the ABC Test as a

  whole, as it must satisfy all three prongs to properly categorize Gegard as an independent

  contractor. See Carpet Remnant Warehouse, Inc. v. N.J. Dep’t of Labor, 125 N.J. 567, 581 (1991).

            235.   PFL/Bellator also clearly fails prongs B and C as well, failing all three prongs of

  the ABC Test.

            236.   Prong B of the ABC Test is that the employer must show that service is performed

  either outside the usual course of the business for which the service is performed or is performed

  outside all the places of business of the enterprise for which the service is performed.

            237.   To satisfy this prong, the worker’s services must be distinct from the usual business

  activities of the hiring entity, or the work must be done outside of the hiring entity’s places of




                                               Page 54 of 75
Case 2:24-cv-09844-ES-JBC          Document 27           Filed 03/24/25   Page 55 of 75 PageID: 212




  business. For example, if a bakery hires a plumber to fix a leak, this would meet criterion B because

  plumbing is outside the bakery’s usual course of business.

         238.    Here, the entire business of PFL/Bellator is promoting MMA fights, and Gegard is

  a Bellator/PFL MMA fighter who fights exclusively for PFL/Bellator. PFL/Bellator hence clearly

  fails prong B of the ABC Test.

         239.    Prong C of the ABC Test is that the employer must show that the worker is

  customarily engaged in an independently established trade, occupation, profession, or business to

  demonstrate the worker is independent and not an employee.

         240.    This prong requires that the worker has their own business, advertises their services

  to the public, or works for multiple clients. This criterion ensures that the worker is operating an

  independent business rather than being economically dependent on the hiring entity.

         241.    Here, PFL/Bellator required that Gegard “grants to Bellator/PFL the exclusive

  unrestricted, worldwide rights to secure, promote, arrange, present, coordinate, create, and produce

  all MMA, martial arts, and unarmed combatant contests.”

         242.    PFL/Bellator improperly and illegally misclassified Gegard as an independent

  contractor when he was really an employee.

                                         VII.      CONCLUSION

         243.    PFL/Bellator breached its Agreement with Gegard and breached the implied

  covenant of good faith and fair dealing as well.

         244.    PFL/Bellator has also engaged in anti-competitive monopsony conduct in violation

  of the Sherman Act, and have further misclassified Gegard as an independent contractor when he

  was in actuality an employee.




                                                Page 55 of 75
Case 2:24-cv-09844-ES-JBC          Document 27        Filed 03/24/25      Page 56 of 75 PageID: 213




         245.    Gegard has been damaged in a variety of harmful ways. He was not paid the

  earnings from the three Bouts he would have received had PFL/Bellator honored the Agreement

  and promoted those Bouts, which earnings would have been $2,550,000.00.

         246.    He was further warehoused for such long periods of time that his career suffered

  immensely, including by putting him in a situation where any other options he may have had, such

  as with the UFC, were no longer viable. Indeed, multiple media sources and other fighters were

  publicly asking if Gegard was in fact “retired,” harming his reputation and career.

         247.    Based on his history as a two-time champion and a fighter touted by such luminaries

  of the sport as Khabib Nurmagomedov, Gegard would very likely have received substantial

  additional offers after completing the three Bouts under his Agreement, whether with UFC or

  elsewhere.

         248.    However, due to PFL/Bellator’s conduct, including its warehousing of Gegard,

  Gegard lost any such opportunities.

         249.    In turn, having been warehoused for so long that figures in the industry and relevant

  market were openly asking if Gegard was “retired,” Gegard lost out on lucrative sponsorship

  opportunities as well.

         250.    Gegard accordingly asserts the below causes of action.

         251.    All conditions precedent to the bringing of this action have occurred, been waived,

  or been performed.

  ///




                                             Page 56 of 75
Case 2:24-cv-09844-ES-JBC           Document 27         Filed 03/24/25     Page 57 of 75 PageID: 214




                                  FIRST CAUSE OF ACTION
                          (For Breach of Contract Against PFL/Bellator)

         252.    In Plaintiff’s first ground for relief, Plaintiff alleges breach of contract to promote

  Plaintiff under the Agreement. Plaintiff repeats and re-alleges the allegations of paragraphs 1

  through 251 as though fully set forth herein.

         253.    The Agreement is a valid and binding agreement between the parties.

         254.    Plaintiff has performed his obligations under the Agreement.

         255.    The fundamental benefit of the bargain under the Agreement was that: (1)

  PFL/Bellator would promote Plaintiff: “Promoter shall promote and Fighter [Mr. Mousasi] shall

  participate in Bouts as set forth elsewhere in the Term of this Agreement” [emphasis supplied] and

  (2) Plaintiff would exclusively fight for PFL/Bellator: “Fighter [Gegard] hereby grants to Promoter

  the exclusive unrestricted, worldwide rights to secure, promote, arrange, present, coordinate, create

  and produce all MMA, martial arts, and unarmed contests (individually, a “Bout” and collectively,

  the “Bouts” to be engaged in by Fighter during the Term of this Agreement …”

         256.    Although Plaintiff strictly honored his side of the bargain and fully performed all

  of his obligations under the Agreement, including by remaining ready, willing and able to fight

  and remaining exclusive to PFL/Bellator even while being warehoused and even when directly

  encouraged by Kogan to explore other promotions, PFL/Bellator failed to perform its fundamental

  obligations under the Agreement.

         257.    Indeed, instead of promoting Plaintiff, PFL/Bellator punitively warehoused

  Plaintiff and did not promote him in Bouts, including failing to promote him in any of the three

  (3) Bouts provided for in the Addendum, in a bad faith attempt to force Plaintiff to accept less than

  his contractually agreed fees for his services.

         258.    This is a material breach of the Agreement.



                                               Page 57 of 75
Case 2:24-cv-09844-ES-JBC          Document 27           Filed 03/24/25   Page 58 of 75 PageID: 215




         259.    Further, the Agreement required that PFL/Bellator “offer standard long-term

  promotional contracts to one (1) Team Mousasi fighter during each full year of the Term”.

         260.    Despite Plaintiff proposing an appropriate number of recruits for this purpose,

  PFL/Bellator did not offer contracts to Team Mousasi fighters in breach of the Agreement.

         261.    Plaintiff gave PFL/Bellator notice of breach and an opportunity to cure as required

  under the Agreement.

         262.    PFL/Bellator remains in material breach of the Agreement and did not cure its

  breaches within the time period allotted for a cure.

         263.    PFL/Bellator’s breaches have cost Plaintiff at least $2,550,000.00 in compensation

  under the Agreement for the three (3) Bouts (Plaintiff would have earned $850,000.00 per Bout)

  he should have been promoted for under the Addendum, and cost Plaintiff further compensation

  that Plaintiff would have earned in other Bouts and from sponsorship opportunities.

         264.    As a direct and proximate result of PFL/Bellator’ numerous breaches of the parties’

  Agreement, Plaintiff has suffered significant and extensive damages and financial injury, and has

  been, and will continue to be, harmed.

                              SECOND CAUSE OF ACTION
      (For Breach of the Covenant of Good Faith and Fair Dealing Against PFL/Bellator)

         265.    In Plaintiff’s second ground for relief, Plaintiff alleges that PFL/Bellator breached

  the implied covenant of good faith and fair dealing. Plaintiff repeats and re-alleges the allegations

  of paragraphs 1 through 251, as though fully set forth herein.

         266.    Plaintiff and PFL/Bellator entered into a valid and binding agreement – the

  Agreement.




                                              Page 58 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25      Page 59 of 75 PageID: 216




           267.   In every contract between parties, there is an implied covenant imposed upon both

  parties to deal in good faith and fairly as to not frustrate the other party’s expectation of benefits

  under the contract.

           268.   The Agreement contained an implied covenant of good faith and fair dealing.

           269.   PFL/Bellator has taken the position that the Agreement does not expressly obligate

  them to promote Plaintiff for any particular number of Bouts, thereby claiming they are not in

  breach of the Agreement (a position that Plaintiff disputes).

           270.   However, the fundamental benefit of the bargain under the Agreement was that

  PFL/Bellator would promote Plaintiff in Bouts and Plaintiff would in turn fight exclusively for

  PFL/Bellator in Bouts.

           271.   PFL/Bellator warehoused Plaintiff and refused to promote him for Bouts in the

  prime of his career in an intentional and bad faith scheme to attempt to force the Plaintiff to accept

  less than the wages he was owed under the Agreement.

           272.   PFL/Bellator refused to properly promote Plaintiff in Bouts, despite multiple

  written requests by Plaintiff and his representative to be promoted in Bouts along with numerous

  other requests by Plaintiff and his representative to be promoted in Bouts.

           273.   PFL/Bellator refused to promote Plaintiff in Bouts based on the bad faith motive

  that PFL/Bellator wanted to force Plaintiff to accept less than what he was contractually owed for

  Bouts.

           274.   PFL/Bellator intentionally warehoused Plaintiff and refused to promote him for

  Bouts with a conscious disregard for Plaintiffs right to receive his fundamental benefit under the

  Agreement.




                                              Page 59 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25    Page 60 of 75 PageID: 217




         275.     By warehousing Plaintiff and refusing to promote him for Bouts PFL/Bellator has

  frustrated Plaintiff’s reasonable expectation of receiving the fundamental benefit of the Agreement

  – that PFL/Bellator promote Plaintiff for Bouts.

         276.     By warehousing Plaintiff and refusing to promote him for Bouts PFL/Bellator

  frustrated Plaintiff’s receipt of compensation under the Agreement, as well as damaging his career

  and reputation to the point where others in the MMA Industry openly question if Plaintiff was

  “retired” when Plaintiff was in fact not retied and was actively seeking Bouts through

  PFL/Bellator.

         277.     This in turn has cost Plaintiff at least $2,550,000.00 in compensation under the

  Agreement for the three (3) Bouts (Plaintiff would have earned $850,000.00 per Bout) he should

  have been promoted for under the Addendum, and cost Plaintiff further compensation that Plaintiff

  would have earned in other Bouts and from sponsorship opportunities.

         278.     As a direct and proximate result of PFL/Bellator’ numerous breaches of the

  covenant of good faith and fair dealing, Plaintiff has suffered significant and extensive damages

  and financial injury, and has been, and will continue to be, harmed.

                                   THIRD CAUSE OF ACTION
                             (Unjust Enrichment Against PFL/Bellator)

         279.     Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 251, as

  though fully set forth herein.

         280.     PFL/Bellator has been unjustly enriched at Plaintiff’s expense.

         281.     Specifically, Plaintiff conferred a substantial benefit to PFL/Bellator by fighting

  exclusively for PFL/Bellator allowing them, among other things, to identify the two time champion

  Plaintiff as an MMA fighter on its roster, PFL/Bellator knew of and appreciated that Plaintiff was

  providing these benefits, and PFL/Bellator retained these benefits without compensating Plaintiff



                                              Page 60 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 61 of 75 PageID: 218




  by retaining the benefits of holding Plaintiff as an exclusive MMA fighter on its roster without

  promoting him for Bouts or paying him.

         282.    As a direct and proximate result of PFL/Bellator’s unjust enrichment, Plaintiff has

  lost at least $2,550,000.00 in compensation under the Agreement for the three (3) Bouts (Plaintiff

  would have earned $850,000.00 per Bout) he should have been promoted for under the Addendum,

  and cost Plaintiff further compensation that Plaintiff would have earned in other Bouts and from

  sponsorship opportunities.

         283.    Instead, PFL/Bellator refused to promote those Bouts, warehousing Plaintiff while

  retaining the benefit of having the Plaintiff locked into an exclusive contract with PFL/Bellator.

         284.    Defendants have been unjustly enriched to Plaintiff’s substantial detriment.

         285.    Plaintiff is entitled to recover the monetary amount representing the unjust

  enrichment from PFL/Bellator.

                              FOURTH CAUSE OF ACTION
           (For Monopsonization Under Section 2 of the Sherman Act (15 U.S.C. § 2)
                                  Against PFL/Bellator)

         286.    Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 251, as

  though fully set forth herein.

         287.    In Plaintiff’s third cause of action, Plaintiff alleges that PFL/Bellator has violated

  15 U.S.C. § 2, the Sherman Act, by engaging in an anticompetitive scheme to maintain and

  enhance its monopsony power in the market for live Elite Professional MMA Fighter services.

         288.    The Relevant Geographic Market is United States based MMA Promotion

  companies that promote fights in the United States, the U.K., the European Union, Saudi Arabia

  and the United Arab Emirates.




                                              Page 61 of 75
Case 2:24-cv-09844-ES-JBC            Document 27        Filed 03/24/25    Page 62 of 75 PageID: 219




         289.       The Relevant Input Market is the market for live Elite Professional MMA Fighter

  services

         290.       PFL/Bellator possesses monopsony power in the Relevant Input Market, whether

  the geographic market includes the Relevant Geographic Market or the entire world.

         291.       PFL/Bellator has obtained, enhanced, and maintained dominance in both the

  Relevant Input Market and the Relevant Geographic Market through the exclusionary scheme

  alleged herein.

         292.       PFL/Bellator has abused and continue to abuse the power to maintain and enhance

  its market dominance in the market for Elite Professional MMA Fighter services through an

  exclusionary scheme to impair and foreclose competition by depriving actual and potential

  competitors in the Relevant Output Market of necessary inputs (e.g., Elite Professional MMA

  Fighters).

         293.       PFL/Bellator’s exclusionary scheme includes, but is not limited to, leveraging its

  monopsony power in the Relevant Input Market and the Relevant Geographic Market through the

  use of exclusive agreements with Elite Professional MMA Fighters, and, upon information and

  belief, with venues, and sponsors.

         294.       As a direct and proximate result of PFL/Bellator’s unlawful monopsonization in

  continuing violation of Section 2 of the Sherman Act (15 U.S.C. § 2), Plaintiff has suffered injury

  and damages in the form of artificially suppressed compensation in amounts to be proven at trial.

         295.       Alternatively, even if PFL/Bellator does not possess full monopsony power, its

  conduct in a highly concentrated duopsony market violates Section 2 of the Sherman Act. In

  markets with few dominant buyers, anticompetitive effects can arise from a single firm’s actions

  exploiting the market structure. As recognized in Todd v. Exxon Corp., 275 F.3d 191 (2d Cir.




                                               Page 62 of 75
Case 2:24-cv-09844-ES-JBC           Document 27        Filed 03/24/25      Page 63 of 75 PageID: 220




  2001), a small number of buyers can suppress wages without explicit collusion. Here,

  PFL/Bellator’s practices, such as warehousing and restrictive contracts, harm competition by

  reducing fighter mobility and compensation in a market dominated by just two major players.

         296.    Plaintiffs seeks money damages from PFL/Bellator for these violations, including

  the $2,550,000.00 in compensation under the Agreement for the three (3) Bouts (Plaintiff would

  have earned $850,000.00 per Bout) he should have been promoted for under the Addendum, and

  further compensation that Plaintiff would have earned in other Bouts and from sponsorship

  opportunities, all of which was lost due to PFL/Bellator’s monopsony and anti-competitive

  behavior. These damages represent the additional compensation Plaintiff would have received for

  his Elite Professional MMA Fighter services absent the anticompetitive scheme alleged herein,

  and the additional compensation Plaintiff would have received for exploitation of his NIL in the

  absence of the violations alleged.

         297.    Pursuant to 15 U.S.C. § 15, the Clayton Act, Plaintiff’s actual damages should be

  trebled. Plaintiff’s injuries directly result from the Defendants’ unlawful conduct and are of the

  type the antitrust laws are designed to prevent.

         298.    Plaintiff further seeks injunctive relief barring PFL/Bellator from engaging in the

  anticompetitive scheme alleged herein. The violations set forth above, and the effects thereof, are

  continuing and will continue unless injunctive relief is granted. Plaintiff’s injuries are of the type

  the antitrust laws were designed to prevent, and flow directly from the Defendant’s unlawful

  conduct.

  ///

  ///

  ///




                                              Page 63 of 75
Case 2:24-cv-09844-ES-JBC             Document 27         Filed 03/24/25      Page 64 of 75 PageID: 221




                                  FIFTH CAUSE OF ACTION
            (Violation of New Jersey Wage and Hour Law (N.J.S.A. 34:11-4.1 et seq.)
                                    Against All Defendants)

          299.      Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 251, as

  though fully set forth herein.

          300.      During extended periods of inactivity (“warehousing”), Plaintiff, despite being

  contractually obligated to maintain full-time training and fight readiness, received no

  compensation from Defendants for work performed from May 2023 to May 2024, despite

  repeatedly demanding payment by demanding Bouts to fight where he would be paid.

          301.      This constitutes a violation of New Jersey’s Wage and Hour Law, N.J.S.A. 34:11-

  4.1 et seq.

          302.      Plaintiff fully performed all duties and responsibilities as required by his

  employment with the Defendant.

          303.      Yet, during the time periods in which Defendants warehoused Plaintiff and Plaintiff

  continued training full time and meeting all his other employment obligations, the Defendants’

  paid Plaintiff nothing, despite Plaintiff’s full-time employment for Defendants and despite Plaintiff

  completing all work required of him.

          304.      Plaintiff has failed to pay Plaintiff regular wages totaling at least $2,550,000.00 (the

  wages he would have received for the three Bouts that he should have been promoted to fight in)

  for work performed during the period of May 2023 to May 2024. Plaintiff has made multiple

  demands for payment, but Defendants have refused and continue to refuse to make such payments.

          305.      As a result of Defendants’ failure to pay regular wages, Plaintiff has suffered

  financial loss.




                                                 Page 64 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 65 of 75 PageID: 222




         306.    Defendants’ failure to pay Plaintiff his earned wages is a violation of New Jersey

  Wage and Hour Law.

         307.    Under N.J.S.A. 34:11-4.7, every employer shall pay all wages due to its employees

  in full at least twice during each calendar month.

         308.    Defendants, acting through its officers and agents, including but not limited to Peter

  Murray (CEO), Donn Davis (Founder, Chairman, and Co-owner), Ray Sefo (President of MMA

  Promotion), Mike Kogan (Executive), Jim Bramson (Executive Vice President and General

  Counsel), and George Pineda (Vice President and Deputy General Counsel), willfully failed to pay

  Plaintiff the wages due to him in violation of N.J.S.A. 34:11-4.7, which requires that wages be

  paid at least twice per calendar month.

         309.    Each of Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-owner),

  Ray Sefo (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson (Executive Vice

  President and General Counsel), and George Pineda (Vice President and Deputy General Counsel)

  had the power to hire and fire Plaintiff, supervised and controlled employee work schedules or

  conditions of employment, determined the rate and method of payment, and maintained

  employment records (or consciously chose not to maintain such records or direct that they not be

  maintained).

         310.    Yet, Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-owner), Ray

  Sefo (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson (Executive Vice

  President and General Counsel), and George Pineda (Vice President and Deputy General Counsel),

  each of whom have direction and control over PFL/Bellator, directed PFL/Bellator not to give

  Plaintiff any further Bouts, which meant that Plaintiff, who was an employee of PFL/Bellator, was

  not paid the wages employee Plaintiff was due, in direct violation of N.J.S.A. 34:11-4.7.




                                              Page 65 of 75
Case 2:24-cv-09844-ES-JBC            Document 27         Filed 03/24/25      Page 66 of 75 PageID: 223




            311.   Plaintiff is entitled to recover the unpaid wages, along with interest and costs of the

  suit, under the New Jersey Wage Payment Law from all Defendants.

            312.   The Individual Defendants exercised significant control over PFL/Bellator’s

  operations, including decisions related to employee classification, payroll, and working conditions.

  Their actions and/or inactions, as detailed above, directly contributed to the NJWHL violations.

  These individuals are therefore personally liable for the unpaid wages under established principles

  of agency and corporate law in New Jersey. (See Liu v. New Dickson Trading, LLC, No.

  CV2115779ESJRA, 2023 WL 3736351, at *4 (D.N.J. May 30, 2023)).

                                  SIXTH CAUSE OF ACTION
            (Fair Labor Standards Act: Unpaid Overtime Wages Against All Defendants)

            313.   Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 251 and 300

  through 312 as though fully set forth herein.

            314.   At all relevant times, PFL/Bellator, as directed by the Individual Defendants, were

  employers engaged in interstate commerce under the Fair Labor Standards Act (“FLSA”), 29

  U.S.C. § 201 et seq.

            315.   Plaintiff was employed by PFL/Bellator, as directed by the Individual Defendants,

  as an employee, not as an independent contractor, as will be further detailed below.

            316.   PFL/Bellator, as directed by the Individual Defendants, employed Plaintiff within

  the meaning of FLSA.

            317.   PFL/Bellator, as directed by the Individual Defendants, engaged in a pattern and

  practice of violating the FLSA by failing to compensate Plaintiff for overtime work exceeding 40

  hours per workweek.

            318.   Plaintiff has consented in writing to be party to this action, pursuant to 29 U.S.C. §

  216(b).



                                                Page 66 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 67 of 75 PageID: 224




         319.    The overtime wage provisions set forth in 29 U.S.C. §§ 201, et seq., apply to

  Defendants.

         320.    At all relevant times and continuing to the present time, Defendants had a policy,

  pattern and/or practice of failing to pay overtime compensation to misclassified employees for

  hours that they had worked in excess of 40 hours per workweek.

         321.    This failure constitutes a willful violation or reckless disregard of the FLSA,

  specifically 29 U.S.C. §§ 207(a)(1) and 215(a).

         322.    Plaintiff’s regularly scheduled workweek included training, media appearances,

  and fight preparation, all essential to his performance and under the exclusive control of the

  Defendants.

         323.    PFL/Bellator’s willful failure to pay, or reckless disregard of the obligation to pay,

  overtime compensation is directly attributable to the actions and/or inactions of the Individual

  Defendants.

         324.    Each of Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-owner),

  Ray Sefo (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson (Executive Vice

  President and General Counsel), and George Pineda (Vice President and Deputy General Counsel)

  had the power to hire and fire Plaintiff, supervised and controlled employee work schedules or

  conditions of employment, determined the rate and method of payment, and maintained

  employment records (or consciously chose not to maintain such records or direct that they not be

  maintained).

         325.    Yet, Defendants Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-

  owner), Ray Sefo (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson

  (Executive Vice President and General Counsel), and George Pineda (Vice President and Deputy




                                              Page 67 of 75
Case 2:24-cv-09844-ES-JBC           Document 27          Filed 03/24/25     Page 68 of 75 PageID: 225




  General Counsel), each of whom have direction and control over PFL/Bellator, directed

  PFL/Bellator not to pay Plaintiff any overtime compensation, or recklessly disregarded the

  obligation to pay Plaintiff overtime compensation, resulting in Plaintiff, who was an employee of

  PFL/Bellator, not receiving the overtime compensation he was due, in direct violation of FLSA.

         326.    As a result of Defendants’ willful failure to compensate their employees, including

  Plaintiff, at a rate of not less than one and one-half times the regular rate of pay for work performed

  in excess of 40 hours in a workweek, Defendants have violated and continues to violate the FLSA,

  29 U.S.C. §§ 201, et seq., including 29 U.S.C. §§ 207(a)(1) and 215(a).

         327.    Defendants also violated the FLSA’s record-keeping requirements under

  29 U.S.C. §§ 211(c) and 215(a) by failing to accurately record, report, and compensate Plaintiff

  for all hours worked.

         328.    As a result of Defendants’ FLSA violations, Plaintiff, is entitled (a) to recover from

  Defendants his unpaid wages for all of the hours worked by him, as overtime compensation, (b) to

  recover an additional, equal amount as liquidated damages, and (c) to recover his unreasonably

  delayed payment of wages, reasonable attorneys’ fees, and costs and disbursements of this action,

  pursuant to 29 U.S.C. § 216(b).

         329.    Because Defendants’ violations of the FLSA have been willful, a three-year statute

  of limitations applies, pursuant to 29 U.S.C. § 255.

         330.    During the last three (3) years, Gegard worked at least 1,248 hours in total overtime.

         331.    The Individual Defendants exercised significant control over PFL/Bellator’

  operations, including decisions related to employee classification, payroll, and working conditions.

         332.    Their actions and/or inactions, as detailed above, directly contributed to the FLSA

  violations. These individuals are therefore personally liable for the unpaid wages under established




                                               Page 68 of 75
Case 2:24-cv-09844-ES-JBC            Document 27         Filed 03/24/25     Page 69 of 75 PageID: 226




  principles of agency and corporate law in New Jersey. (See Liu v. New Dickson Trading, LLC, No.

  CV2115779ESJRA, 2023 WL 3736351, at *4 (D.N.J. May 30, 2023)).

                           SEVENTH CAUSE OF ACTION
     (New Jersey Wage and Hour Law: Unpaid Overtime Wages Against All Defendants)
         333.      Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 251, 300

  through 312, and 314 through 332, as though fully set forth herein.

         334.      At all relevant times, Plaintiff was employed by Defendants within the meaning of

  the New Jersey State Wage and Hour Laws, N.J.S.A 34:11-56a et seq. (the “NJWHL”) and each

  of the Defendants was an employer within the meaning of NJWHL.

         335.      The overtime wage provision of the NJWHL and its supporting regulations apply

  to Defendants.

         336.      Defendants willfully violated Plaintiff’s rights by failing to pay him the legally

  required amount of overtime compensation at rates not less than one and one-half times their

  regular rate of pay for all hours worked by them in excess of 40 hours in a workweek, in violation

  of the NJWHL and its regulations.

         337.      During the last three (3) years, Gegard worked at least 1,248 hours in total overtime.

         338.      PFL/Bellator’s willful failure to pay, or reckless disregard of the obligation to pay,

  overtime compensation is directly attributable to the actions and/or inactions of the Individual

  Defendants.

         339.      Specifically, PFL/Bellator, acting through their officers and agents, including but

  not limited to Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-owner), Ray Sefo

  (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson (Executive Vice President

  and General Counsel), and George Pineda (Vice President and Deputy General Counsel), knew,

  or should have known, of the requirements under the NJWHL to pay Plaintiff his overtime



                                                Page 69 of 75
Case 2:24-cv-09844-ES-JBC          Document 27        Filed 03/24/25     Page 70 of 75 PageID: 227




  compensation, and willfully failed to pay Plaintiff the overtime compensation due to him in

  violation of NJWHL or recklessly disregarded the obligation to pay Plaintiff the overtime

  compensation due to him in violation of NJWHL.

         340.    Each of Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-owner),

  Ray Sefo (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson (Executive Vice

  President and General Counsel), and George Pineda (Vice President and Deputy General Counsel)

  had the power to hire and fire Plaintiff, supervised and controlled employee work schedules or

  conditions of employment, determined the rate and method of payment, and maintained

  employment records (or consciously chose not to maintain such records or direct that they not be

  maintained).

         341.    Yet, Defendants Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-

  owner), Ray Sefo (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson

  (Executive Vice President and General Counsel), and George Pineda (Vice President and Deputy

  General Counsel), each of whom have direction and control over PFL/Bellator, directed

  PFL/Bellator not to pay Plaintiff any overtime compensation, or recklessly disregarded the

  obligation to pay Plaintiff overtime compensation, resulting in Plaintiff, who was an employee of

  PFL/Bellator, not receiving the overtime compensation he was due, in direct violation of NJWHL.

         342.    Defendants knew and/or showed reckless disregard that their conduct was

  prohibited by the NJWHL.

         343.    As a result of Defendant’s willful violations of the NJWHL, Plaintiff is entitled to

  recover from Defendants his unpaid overtime wages, reasonable attorneys’ fees and costs of this

  action and pre-judgment and post-judgment interest, including the employer’s share of FICA,




                                             Page 70 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 71 of 75 PageID: 228




  FUTA, state unemployment insurance, and any other required employment taxes, reasonable

  attorneys’ fees and costs and costs of this action, pursuant to N.J.S.A. § 34:11-56a.

         344.    The Individual Defendants exercised significant control over PFL/Bellator’s

  operations, including decisions related to employee classification, payroll, and working conditions.

  Their actions and/or inactions, as detailed above, directly contributed to the NJWHL violations.

  These individuals are therefore personally liable for the unpaid wages under established principles

  of agency and corporate law in New Jersey. (See Liu v. New Dickson Trading, LLC, No.

  CV2115779ESJRA, 2023 WL 3736351, at *4 (D.N.J. May 30, 2023)).

                              EIGHTH CAUSE OF ACTION
   (Failure to Maintain Records Against All Defendants in Violation of FLSA and NJWHL)

         345.    Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 251, 300

  through 312, 314 through 332 and 334 through 344 as though fully set forth herein.

         346.    Under the FLSA and NJWHL, the Defendants are required to keep and maintain

  accurate records setting forth the total hours worked each day by Plaintiff for each workweek and

  other employment information.

         347.    The Defendants have failed to maintain true, accurate and complete records

  containing this required information, including the total hours worked each day and each

  workweek by Plaintiff.

         348.    Specifically, PFL/Bellator, acting through its officers and agents, including but not

  limited to Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-owner), Ray Sefo

  (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson (Executive Vice President

  and General Counsel), and George Pineda (Vice President and Deputy General Counsel), knew,

  or should have known, of the requirements under the FLSA and NJWHL to keep and maintain

  accurate records setting forth the total hours worked each day by Plaintiff for each workweek and



                                              Page 71 of 75
Case 2:24-cv-09844-ES-JBC         Document 27         Filed 03/24/25    Page 72 of 75 PageID: 229




  other employment information, and willfully failed to keep those records or recklessly disregarded

  the obligation to keep those records in violation of FLSA and NJWHL.

         349.    Each of Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-owner),

  Ray Sefo (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson (Executive Vice

  President and General Counsel), and George Pineda (Vice President and Deputy General Counsel)

  had the power to hire and fire Plaintiff, supervised and controlled employee work schedules or

  conditions of employment, determined the rate and method of payment, and maintained

  employment records (or consciously chose not to maintain such records or direct that they not be

  maintained).

         350.    Yet, Defendants Peter Murray (CEO), Donn Davis (Founder, Chairman, and Co-

  owner), Ray Sefo (President of MMA Promotion), Mike Kogan (Executive), Jim Bramson

  (Executive Vice President and General Counsel), and George Pineda (Vice President and Deputy

  General Counsel), each of whom have direction and control over PFL/Bellator, directed

  PFL/Bellator not to keep and maintain accurate records setting forth the total hours worked each

  day by Plaintiff for each workweek and other employment information and willfully failed to keep

  those records or recklessly disregarded the obligation to keep those records in violation of FLSA

  and NJWHL.

         351.    The aforementioned conduct is in violation of, inter alia, the FLSA and the NJWHL

  and is otherwise unlawful.

         352.    As a direct and proximate cause of the aforementioned conduct, Plaintiff has

  suffered damages.

  ///

  ///




                                             Page 72 of 75
Case 2:24-cv-09844-ES-JBC          Document 27        Filed 03/24/25      Page 73 of 75 PageID: 230




                                  DEMAND FOR JURY TRIAL

         Pursuant to Fed. R. Civ. P. 38 (b), Plaintiff demands a trial by jury.

                                   DEMAND FOR JUDGMENT

         WHEREFORE, Plaintiff Gegard Mousasi respectfully requests that this Court enter

  Judgment in his favor and against Defendants Bellator Sport Worldwide, LLC, New Bellator, LLC

  (a subsidiary of Professional Fighters League), Peter Murray, Donn Davis, Ray Sefo, Mike Kogan,

  Jim Bramson, and George Pineda, jointly and severally, as follows:

  On Plaintiff’s First, Second and Third Causes of Action Against PFL/Bellator

         (a)    Awarding compensatory, consequential and/or equitable monetary damages in an
                amount to be determined at trial, but not less than $15,000,000.00 and additionally
                awarding applicable pre-judgment interest;
         (b)    Awarding punitive damages;
         (c)    An award of prejudgment and post-judgment interest; and
         (d)    Such further and other relief as the Court may deems just and proper;

  On Plaintiff’s Fourth Cause of Action Against PFL/Bellator

         (a)    Entering judgment against Defendants, holding Defendant liable for the antitrust
                violations alleged;
         (b)    Awarding Plaintiff treble the amount of damages actually sustained by reason of
                the antitrust violations alleged herein Pursuant to 15 U.S.C. § 15 (the Clayton Act)
                plus the reasonable costs of this action including attorneys’ fees;
         (c)    Orders such equitable relief as is necessary to correct for the anticompetitive market
                effects caused by the unlawful conduct of PFL/Bellator;
         (d)    Awarding Plaintiff the costs of his suit, including reasonable attorneys’ fees as
                provided by law;
         (e)    An award of prejudgment and post-judgment interest; and
         (f)    Such further and other relief as the Court may deems just and proper.

  ///




                                             Page 73 of 75
Case 2:24-cv-09844-ES-JBC         Document 27         Filed 03/24/25      Page 74 of 75 PageID: 231




  On Plaintiff’s Fifth, Sixth, Seventh, and Eighth Causes of Action Against All Defendants

         (a)    An injunction requiring Defendants to: (i) cease their unlawful practices under the
                NJWHL and FLSA and comply with the law; (ii) pay on behalf of Plaintiff to the
                Internal Revenue Service of the United States of America the combined work-
                employee contribution under the Federal Insurance Contributions Act (FICA)
                comprised of both social security and Medicare taxes (15.3%), federal income tax
                not withheld, federal unemployment insurance tax act (FUTA) payments, as well
                as any penalties and interest; (iii) pay on behalf of Plaintiff any state income taxes,
                state disability insurance payments, state unemployment compensation payments,
                and any other amounts that Defendants were required to withhold from Plaintiff’s
                wages, plus any interest and penalties; and (iv) keep and maintain true, accurate
                and complete records as required by the FLSA and NJWHL;
         (b)    A declaratory judgment that the practices complained of herein are unlawful under
                the FLSA and the NJWHL;
         (c)    An award of unpaid wages for all hours worked in excess of 40 in a workweek at a
                rate of one and one-half the regular rate of pay under the FLSA and the NJWHL;
         (d)    An award of liquidated damages pursuant to 20 U.S.C. § 21 and the NJWHL;
         (e)    An award of damages representing the employer’s share of FICA, FUTA, state
                unemployment insurance, and any other required employment taxes;
         (f)    An award of prejudgment and post-judgment interest;
         (g)    An award of costs and expenses of this action together with reasonable attorneys’
                fees; and
         (h)    Such further and other relief as the Court may deems just and proper.




                                             Page 74 of 75
Case 2:24-cv-09844-ES-JBC          Document 27         Filed 03/24/25     Page 75 of 75 PageID: 232




                CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

         I hereby certify under penalty of perjury under the laws of the United States of America

  that to the best of my knowledge, this matter is not the subject to any other action pending in any

  court, or of any pending arbitration or administrative proceeding. I understand that if the foregoing

  statement is willful false, I am subject to punishment.

  Date: March 24, 2025

                                                JEFFREY I. WASSERMAN, ESQ.
                                                WASSERMAN LITTLE LLC
                                                1200 Route 22 East, Suite 2000, #2238
                                                Bridgewater, New Jersey 08807
                                                jwasserman@wassermanlittle.com
                                                (973) 486-4801

                                                                &

                                                SINGH, SINGH & TRAUBEN, LLP
                                                THOMAS K. RICHARDS
                                                trichards@singhtraubenlaw.com
                                                400 S. Beverly Drive, Suite 240
                                                Beverly Hills, California 90212
                                                Tel: 310.856.9705 | Fax: 888.734.3555
                                                (pro hac vice motion to be filed)

                                                By:     /s/ Jeffrey I. Wasserman
                                                        Attorneys for Plaintiff
                                                        Gegard Mousasi




                                              Page 75 of 75
